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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MARIANA ISLANDS
                                              *

     MANETIRONY CLERVRAIN,et al               *

               Plaintiff(s),

                               VS.            *        Case No

     PHILIP A.BRIMMER,et al

               Defendants(s).


   MOTION FOR SETTLEMENT AGREEMENTS)AGAINST SECRETIVE CRIMINALS
    BY INKOKING THE NATIONAL REGULATORY TREATIES ACT(“NIRTA”)
  j**************************************************************************j

       I. COMES NOW, the plaintiff, V^Manetironv Clervrain^]. Pro-Se, or (“7%e Activisf^) or


CThe ANr\ or CDeportable Alien^^), as CFirst-Times Offenders’^), and the term V Prompt


Nptic^’) and V^Their Expertise Acf'^ (“TEA”) have the connections for the agencies performance


and are solely used to identify the claims to the local courts, when motioned in a singular version,


]^'IntellectJntenf’'\ and V'Consress Intenfl shall be Known as \'"Svnonvm’l and when mentioned


together is for the \ Activist Ri2hts’l. and his employees, or {"Management Team ”] shall be laiown


as the [""Protected Rights”} for their immediate families to be benefited from the illegal classification


as dangerous individuals in concentration camps by restrictive means and excessive, or for declaration


of pain for additional reliefs generally refer to these lawsuits as controversies for damages against the


defendants who are acting under the color of their authority allegedly violations of the U.S


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constitutions by their officials, and for the issuance ordinance under Article I, II, III, and


l^'hUeriiationaJ Covenani On Civil and Political Ri^^hls''] (‘’ICCPR*’)! The \'"UmtecI Nation’s


Universal Declaration of Human Rights"] (‘'UDHR”); The {"American Convention On humajl


Rights ”1 ("ACOHR”); or( "American Convention"')-, The {"European Convention for protection of


Human Rights"](“ECPHR”), as well as the \"Customary International Law"^ (“CIL”), or to protect


those with the evidence of {"Brutality      against the defendants deprivation of rights, by failure to


ratify the various illegal laws, or it is for enforcing public interest by the enforcement of the following


laws: {"National Issues Resulatorv Treaties Acf'^ ('‘NIRTA’’); {"Federal officials Duties


Performance AcC^ (“FODPA”); V^Nesliaence Attorney Riahf Issues Principal AcC](“NARIPA”);


{"Central Issues Record Treaties Acf^ (“CARTA”); [ "Nealisence Attorney Privatization Access


False Act"} (“NAPASA”); [“ State Access General Issues Risht Acfl (“SACIRA”):l“.Vgg//gg/?c£?


Attorney Treatment Tortuous Act'l (“NATTA"); {"Nealiaence Attorney Conflict Issues Contract


Act (“NACICA”); {"Treaties Issues Crimes Scene AcC] (“TICSA”); {"National Association Bur


Liabilin- Act"}(“NABLA"); and therefore restricted imposed is questioning intellect intent, with the


authority to remove those classified with the status of Exclusion in certain circumstances under


Article 15 of the (“UDHR”), or for the court to detennine if whether or not to pennit the extraordinaiy


circumstances by compelling the facts, or to alter the various illegal judgments as to remain faithful


to the intent of the plaintiff controversies and ambiguities alleged consistent with the jurisdictional;


authority of the courts accords the countiy by invoking their power to litigate within congress intent
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by [“ The Ant(s) Movement Act](“TAMA")or in conjunction \'"Miituat Union Domestic Terrorism


Acf'](“MUDTA")as arguable basis against facial attacks by the various quasi judicial across against


his competent litigation's or freely deliberately his speech without restrictions does proving the extend


or the continuation of his criminal activities, insofar as it may inquiring for National reliefs or against


illegal laws, policies or regulations as evidence suppon the claims on the merits of these cases to


resolve the challenges of various punitive acts established by congress, or in such controversies as


evidence to question the defendants misconducts within reason in these cases to resolve a challenge to


the laws by these motions for the rules enabling act, which congress authorized in this circumstances


presenting to promulgate rules of procedures subject to its review. 28 U.S.C 2072 (a); 28 U.S.C 1651;


28 U.S.C 1654; 28 U.S.C 1361; Fed. R. Civ. P. 15 (b); 20; 26; 54; 57; 65; Fed. R. App. P. 41 : 23; 8


C.F.R. 1003.1(e)(6)(v) and for the issuance ordinance with the courts jurisdiction under 28 U.S.C


2241; 28 U.S.C 1331; 28 U.S.C 1332; 28 U.S.C 1343; 28 U.S.C 1291; 28 U.S.C 1292 and 5 U.S.C


701 and the administrative records of the cases that form the part of the controversies allegation under


Article I: II; III, as a model to hear the plaintiff injuries in facts as the various constitutional violations


by the V'lmmisration and Nationality Act*^ (“INA"); the                 V'Freedom of Information AcC


(“FOIA"), and the VTnsoners Litisation Reform Acf'^ (“PLRA") and the establishment clause


tacitly codified in the statutes to promote apartheid. 8 U.S.C 1101 et seq              which demonstrates


congress intent for ratification or by declaring the the above laws are ambiguous in their faces ,or with


the challenge that they are cumently in violation of the Constitutions or they are the proximate cause



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of mass deportation and incarceration, or as they       are codifying by excluding or by classifying


individual as alien or animal or dangerous individuals without any justification for review upon relief


can be granted for certify the class as to questions declaratory relief(s)       and for the writ(s) of


mandamus with oral argument because the facts and legal contentions are adequately presented in the


materials before these courts would aid the decisions process suffice to satisfy the plaintiffs burden of


demonstrating animus motivation by the practices against injustice or illegal reporting, it is true that


publication traditionally has been accepted as notification supplemental to other actions which by


themselves may reasonably be expected to convey a warning that the defendants should be liable for


general damages in light of the circumstances is for the courts to consider facts related to the effect of


potential risk of physical injury to another due to connection of conflicting laws, the law of the


jurisdiction where the tort occurred will generally apply because that jurisdiction has the greatest


interest in regulating behavior by their employees expressive activities in their capacity as citizens, or


as government employees" and noting that '*[w]ith few exceptions, the content of the messages is for


public interest;


       1) Although the activist does dispute by this {''Motion for Reopenins Extortionish


convictions, docket statements benefits asainst mass Deportation Prohibition Acf'} (“MDPA*’) for


additional claims;




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          2)They are matter concerning additional docket statements within the controversies by


  applying(“MOCMA”)At page, 94(A)(I) is the first impression of the litigation, or particular serious


  to be determined;


       i) At page 95 (II) from (“MOCMA”) is additional intent, that the courts must applied


(“TADMA"), or matter for the defendants pcrfonnance, thy are the subset of V'Assravated Felonies''^ as


defined by statutes;


       ii) They are Illegal laws, at page 60 (II)(2), specifically, the (“FOIA”), for which the plaintiff is


asking for V'fee waivers*^, in light of the circumstances which congress has spoken clearly against


intentional acts;


        V'Reuuest Records throuah the Freedom ofInformation Act or Privacy Act'- \ 1“ Wlmt Is the


Purpose ofForm?




                    Use Form G-639 to obtain access to U. S. Citizenship and Immigration Sen’ices (USCIS) records
          as allowed by the Freedom ofInformation Act(FOIA) at 5 U.S.C. 553 and the Privacy Act oj 1974(PA) at
          5 U.S.C. 552a. With certain exceptions. FOIA provides access to Federal agency records. PA allows U.S.
          citizens or lawful permanent residents to: 1. Request access to information pertaining to themselves in
          Federal agency records: and 2. Correct or amend their records. PA also prohibits disclosure of any
          person's records without his or her written consent, except under certain circumstances as prescribed by
          PA.



        1) At page, 96-97(B)that is for the defendants withheld the administrative records, or matter for


the courts to compel National Matters, [“17-CV-03194”] or allowing the V^activists'l to access records


additional claims;
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       a) The Negligence by the defendants are extended for conspiracy, at page, 98 (III) , or they are


the leaders of the criminal enterprises, or to ^'Section 30J - Enforcement of Couveutiou'’'} by


questioning facts;


       {"INTER-AMERICAN                 CONVENTION               ON       INTERNAT/OXAL           COMMERCIAL


ARBITRATIONS


                    The Iiuei'Amencuii Convention on International Commercial Arbitration ofJanuary 30, 1975,

          shall he enforced in United States courts in accordance with this chapter.




        b) At page, 98-99 (IV) is additional claims for the agencies to evaluate crimes of Apartheid, as


well as if whether the plaintiff activities has been control by illegal theory, or retaliation can be justified


by proposed laws;


        c) At page, 99(V) is matter for V'mthlic interest's, pending to file while the plaintiff is asking


the defendants to justified their actions [“21-40522”] or matter for reinstatement of the appeals


nationwide claims;


        i) As such being the case, then we asking if {""Mrs. Lvle W, Cavee^'S duty is invoked consistent


with the applicable laws and rules, to inform the public concerning judicial misconducts as matter of


laws to litigate;


        ii) As well as for I“Mr. David 0’Too/e"S to inform the public how long he has been a witness


that the plaintiff has been suffered by injustice because of his movement, or the administrative record


must be released;



                                                           6
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       iii) As such being the cases the mandated issues by the fifth circuit, or among the other part of


the controversial are subject to review dc novo [“12-61943’’], and to compel administi'ative record for


analyzing crimes;


       a) This action is before the court [“Dkt, 41”], which the court failed to consider the important


part for victim of Criminal Enterprises, which the various judicial officials implicated in the conspiracy


for prosecuting;


       [‘73/ Federal Jud2es Broke the Law hv Hearins Cases Where They Had a Financial Interesf'^


by wall street”]


                  The judges failed to recuse themselvesfrom 6H5 lawsuits from 2010 to 2018 involvingfirms in
          which they or theirfamily held shares, a Wall Street Journal investigation found




       b) That quotation is by the \'Wall Street Jouma^^. or wrote by V^James V, Grinialdi'f.


VCoulter ./(?/ig5”l; \'"Joe PalazzoUf'^ they are the inter\^enor to infonn the public what is additional


illegal conducts;


       c) That is including additional motions for international interv'enors pending to file to question


VAlien Status'! and V'Pauperis Status''^ or to evaluate general damages concerning judicial official


illegal oppositions;


       d)These courts under {“MOCMA”), at page 73-84, or matter for filling additional tort claims


against each of the judicial officials for failure to act within the meaning of laws, which congress has


granted authority;




                                                       7
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        e) The above couits have failed to review the several motions related to mitigating crimes by


judicial officials, or agencies officials, or otherwise for additional reliefs in its premises is to prosecuting


serious criminals;


        f) As such being the cases the plaintiff prior motions, and the present motions must evaluate for


majority opinions, including the violation of victim of crimes, they arc possible to decipher by the


administrative facts;


        l)They do clearly stated facts concerning criminal misconducts alleged, which the plaintiff is


seeking by making right arguments upon additional reliefs can be granted for vacatur of illegal


convictions rights;


        2) According this court failed to consider [“Dkt, 39”] is within the same subject matter that if the


judicial misconducts is being questioned for              and involving finnly in which they or their family


held shares claims


        3) As well as for wall Street Journal investigation if the those claims must be published


Nationwide,(“NIRTA”) at page 91-149 or matter to invoke additional publication when evidence for


illegal denials;


        a) On or about September 25, 2021 the (“SSA”) response the (“FOIA”) request by the activist


concerning {“Deportahle Aliens''] social benefits since 1995, or to justified the request sought against


abuse discretion;




                                                      8
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       b) To that extent \"Mrs. Man'Ann Zimmermanl. which failed to consider [“S9H; SSA-2021-


01629r']or has not considered or proper document, but alleged [''unknown docwne?ils'l or evidence for


secretive crimes;


        1) Under the (“FOIA”) must reasonable compel the administrative record for the(SSA) entirely


will justified the unknown individual that has been deported for years without justification for the


puiposcd of trade;


       2) The we assumed that the plaintiff is entitle for V'exyedited proceedins'^ and V'fee waivers “]


as well as equitable reliefs to remove the status of pauperis including his management team that has


been delegated ;


       a) Here, the plaintiff is asking about individuals victims, or that is because the defendants


withheld deportable social security benefits for years, or evidence that will support the proximate cause


of illegal conducts;


       b) Moreover, the agencies failed to make proper determination when proving necessary


information related to ["Mass Deportation"] and fWa-sw Incarceration''] is the proximate cause of


financial burdens;


       c) The request infonnation about all depoilable aliens including all of the activist that were


illegal deported and detained by the agencies misinterpreted laws congress has authorized to consider


special factors;




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        d) Then the couits under (“MOCMA'’) that is for supplemental jurisdiction against the


defendants both officials and individual capacities, or where the official of the agencies arc locating by


national claims;


        1) To that extent ('‘SSA”) duty is invoked to inform the local official of each states, and where


the controversy of the claims is being alleged, or to assist in the process of violation of crimes within the


same reasoning;


        2)Additional, V'Mr. C/ervraiii'] is delegate V'Mrs. Niva Guerrier’] how to appeals the


procedures electronically transmitted to FOIA. Publicdiason@SSA.tiov and both are activist to legate


against illegality;


        3) As well as for(“NARA.”) to response within the time framed, or 90 days is a very long period


time, or question for first step in the settlement procedures for management team concerns expedited


proceeding rights;


       4) Those right information must including for detennination of exposure to death by the (“BOP")


under this cases [“17-CV-00313”], or request to the (“EPA") [“EPA-2021-006750”], or matter for


negligence claims;


       i)This time the agencies must reviewed the claim entirely along with the motions filed for


consideration, and grievances related to the violation consistent of serious crimes within the reasoning


by danger theory;




                                                    10
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       ii) Here, the (“EPA”) claim that he was enable to settlement agreement for exposure to mold, or


other dangerous situations, or to evaluate additional records, or they are for additional claims nationwide


to enforce laws;


       a) The total fee incuixed should include as part of the negotiation process for the various


violations including for constitutional issues, or V‘'Mr, Trimonthly R. EPf], or to evaluate billable


management fees;


       b) Indeed, such as claims are applicable against each of the agencies alleged to be notified by


email, FTCAclaims@,epa.gov. or if they have any question they must response within the time frame for


management fees;


       c) This motions include matter for controversies related matters to (“FOIA”) and constitutional


violations if the agencies continuously denied him relief [‘'20-CV-00538"] or to question if the judge


involved claims;


       1) If the above court V'hanneftl the activist to file without any justification, then the agencies


are questionable for investigate the Judge VStevheti R.Clark’\ or if the court refused to accept mail by


fraudulent intent;


       2) This duty is invoked for fraud, additionally we are seeking dispute resolution by the federal


courts of appeals, rather than (“NARA”) which is part of the conspiracy in the first place or intent by


secretive crimes;




                                                   11
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       3) That is something \^\Jodi_Floo^'‘'\ will not denied the claims [“NGC21-817”] by failure to


release their conspirators,or matter for all media to interv'ene within the same reasoning for publication


against terrorism;


       d) As such being the cases the plaintiff who is a prolific litigant entitle fr Expedited processing


determination by the (“EPA”), or among the other arc the co-conspirators pending to amend additional


serious criminals;


       1) This matter involved V'National Informal Reliefs''^ (“N.I.R’'), or V'National Informative


Public Gnevous        ’1 (“NIPGA*'), or public concerns related to patent of his invention to be protected


by enabling laws;


       2) If the agencies failed to justified their illegal actions, or the tenn (“NIR”) also refer to


(“NIRTA”), matter for enabling punitive laws alleged under(“MOCMA"'), or they are demonstration for


wrongful matters;


        V'Sectiou 2.103 - Responsibility’ for respoiulins to requests']


                     (e)Law enforcement informtiiion. Whenever a requester makes a request for a record
            containing information that relates to an investigation of o possible violation of law and the
            investigation originated with another agency, the assigned office, with the concurrence of the
            National FOIA Office, will refer the request to that other agency or consult with that other agency
            prior to making any relea.se detennination.




       a) Here, compelling need is satisfied under the (“FOIA'') what is more to mitigate secretive


crimes established by the agencies control theory,or will justify the statement to support finding of a


support compelling;




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        b) Here, the plaintiff is invoking Code of Federal Regulation (C.F.R), in conjunction of the


code of InfoiTnative Regulations (“C.l.R”) or or matter for National Grievance procedures for electronic


fillings controls;


        l)If the subject matters are for reopening controversies cases by [“EOUSA-2021-003384'’] or


request for questioning performance against criminal enterprises, with rights access to federal agencies


records by laws;


        2) Under the (“FOIA") or and the criminal law alleged required the agencies to perform their


duties, conducts research, created new records, answer question to infonn the public matter related to


conspiracy claims;


        3)Those filed requested for illegal convictions arc the proximate cause of illegal deportation


across the countiy would be primarily in each each of the states where the controversy claims being


question by laws;


        a) According to V'Mr.Kevin Krehs'''^ the alleged infonnation sought is in control of the United


States Attorney (USA), or to release all V'Deportahle Aliens'"^ and to identify each person that where


illegally removed;


        b) As well as for those that were illegally imprisonment, or not restricted the agencies for their


performance against other agencies, or judicial officials to provide access to reasonably described within


the records matters;




                                                  13
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        i) Here, the infonnation is to help in the courts procedures, which the above defendants failed to


consider important factors, for them consider this motions along with cases being filed across the


country to release;


        a) On about this [“ Jiidee Amy J, St Eve'^ from the seventh circuit of court of appeal alleged


under this case [“21-02258”], which was received on September, 27 2021 because of his classification


of prolific litigant;


        b) The the court said that it not file motion concerning administrative crimes by judicial officials


in light of the September 9, 2021 order was a warning that further allegation for criminal investigation


should be restricted;


        c) To that extent we assumed that the judge not only proving [“Bias”] but evidence for


discrimination is prevail that the officials are liable for additional damages pending to file tort


allegations claims;


        d) The ordered was submitted with the same V'intent to Dutlish"^ or matter for the judge to


protect criminal enterprise, and that submission should not returned unfiled without proper justification


by guidance rules;


        e) As such being the cases if the plaintiff filed a V'docket statements' ^ which the judge labeled


as defendants will make justified public interest against judicial conspiracy or practices as constitutional


violation issues;




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       i) That is due to be response by the Untied Stales Attorney, on each states, for beginning of the


settlement procedures by this court [“17-CV-03194"] against the court in the courts in their officials


capacities suits;


        ii) Alternatively, in all aspect of the judicial officials negligence as to be treated against the


government officials and their entities entirely not to exclude the judicial officials pending to amend


additional parties;


        hi) As such being the case October 4, 2021 to file docket infonnation is to premature, after all


\'"witnesses'l and {''beneficiary"] admitted to the United States at goveramental expenses, including


housing funding;


        a) Wc asking the courts to apply \*Hntellect intent"] by appeal procedures against {"Alien


Statiis'l that officials under(“MOCMA*’)in their {"officials capacities'^ or if the failed to ratify illegal


control theoiy;


        b) Those claims are for them to consider {"Pauperis Status*'] the effect of deportation and


separation of family after they committed their first offense should not be the only ground to exile from


their residency;


        c) The criteria for considering the claims is protect by the first Amendment of the constitution if


the courts intention is to restrict the activist access to the courts without justification that for individual


capacity claims;




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                            MOVEMENT ON CRIMES MITIGATING ACT ^MOCMA”)


                  II. These documents may well demonstrate ["intellect iiiienf'l , at some level, "iuten'sted" in


         Y'Humanitariair^ activities as a prominent dissident and high-ranking revolutionist leaders, or very


         charismatic by the defendants statement for the same purpose for illegal convictions must vacated for


         victim of crimes;


                  A                          {'^Massive Issues Genocide Reform Ac^^ ('‘MIGRA")                            22(A


                        I                            V'The Ant(s) Reform Acfl(“TARA")                                   22(1)14)


                                 1)                Manetironv Clervmin V. Kirsten Nielsen                            68(H)(1)


                                                         [“20-CV-00603"]

                                 2)                 .Manetironv Clerwain V. WiUbur L Ross                             68(H)(1)

                                                         [“20-CV-00119"]

                                 3)               Manetironv Clervrain V. Steven Nejen                                 68 (II)(1)

                                                           [“20-CV-00134"]

                                 4)             Manetironv Clervrain V. David Bernhart                                 68(IDO)

                                                                [“21-CV-00075”]

                                 5)                  Manetironv Clervrain V. Michael Pompeo                        68 (II)(1)

                                                             [‘‘20-CV-00555'’]




          Under this case [“J7-CV-03J94”], at this point the plaintiffis asking the defendantsfor negotiating process only against
 the agencies mentioned, pending tofile additional reliefs. f"Dkt. 13!"], at page 8 1^) they are matterfor the agencies to consider
for removing ["pauperis status’’], while he is about to file additional defendants for intervention rights against discriminutoiy
 enforcement, or that is alsofor public opinion against the challenged laws so punitive. Kolender v. Lawson 461 U.S. 352(J983)




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II                 V'The Ant(s) Punitive Acf'^("TAPA”)          22(1)(14)

      1)         Manetironv Clervrain V. J.B Pritzer            68(n)(i)

                      [“20-CV-013040”]

      2)         Manetironv Clervrain V. PhiU Scott             68 (II)(1)

                      ['                ']

      3)         Manetirony Clervrain V. Bill Lee               68(H)(1)

                      [“20-CV-00548”]

      4)         .Manetironv Clervrain V Hemy McMaster         68(H)(1)

                      [“21-CV-00021”]

      5)         Manetironv Clervrain V. Gina Rairondo          68(H)(1)

                      [“20-CV-00535”]

III              VMheAnt(s) Treatment Act'l(“TATA”)             22(1)(15)

      1)         .Manetirony Clervrain V. Derek Benner          68(H)(1)

                           [“20-CV-00513”]

      2)           Manetirony Clervrain V. Paul Hunter          68(H)(1)

                           [“20-CV-02939”]

      3)           Manetirony Clervrain V Taci Barrera         68(H)(1)

                            [“20-CV-02404”]

      4)         Manetirony Clervrain V. Tony H Pham           68(H)(1)

                            [“20-CV-00805”]

      5)         .Manetironv Clervrain V. Alysa D. Erich(s)    68(H)(1)

                            [“20-FP-01188”]




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IV              V'The Ant(s) Nationalit\' Act"}(TANA”)            22(A)(IU15)


     1)          Manetirony Clervrain K Rossana Rossacio                68(H)(1)

                      [“20-CV-000389”]

     2)          Manetirony CJervrain V. Alejendro Alex Padilla        68(H)(1)


                      [“20-CV-00925”]

     3)          Manetirony Clervrain V. TreHaget                      68(H)(1)

                      [“20-CV-02944”]

     4)          Manetirony Clervrain V. Asa Huthison              68(H)(1)

                        [“20-CV-00369”]

     5)          Manetirony Clervrain V. Connie Lawson              68(H)(1)

                      [“20-CV-01306”]

V                   V'The Ant(s) Library Act"](“TALA”)            22


      1)       Manetirony Clervrain I'. Kelly Thomson Mercer            68 (II)(1)

                           [“20-CV-00645”]

     2)            Manetirony Clervrain V. Herbert C. Hoover           68(H)(1)

                      [“20-CV-00078”]

     3)        Manetirony Clervrain T. Alison Lundergan Grimes         68(H)(1)

                         [“21-CV-00400”]

     4)            Manetirony Clervrain V Paul Hunter                  68(H)(1)

                          [‘‘20-CV-02939”]

     5)            Manetirony Clervrain V. Richard Scott               68(H)(1)

                           [“18-CV-304r']




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VI           \'^The Ant(s) Victims Multiplicity Ac^^(’TAVMA”)        4 (I)(1)

A                  V'Rinht Aanravated Provision Act'"\(RAPA)     22(A)(I)(9)

      1)         Manetironv Clervniin J'. Lori R Swason             68(H)(1)

                          [“19-CV-00965’']

     2)          Manetironv Clervrain J'. Derek Schidt             68(H)(1)

                        [“19-CV-03040”]

     3)          .Manetironv Clervrain V. Andre G Beshear         68 (11)11)

                        [“19-CV-00019”]

     4)            Manetironv Clervrain I' Brad Schimel           68 (II)(1)

                      [“19-CV-00503”]

     5)              Manetironv Clervrain V. Cynthia H Coffman     68(11)(1)

                      .... [-49-CV-00695”]

B                     V'Risht Issues Treament AcC^ (“RITA*')     22(A)(I)(9)

      1)           Manetironv Clervrain V. Erick T Scheiderman    68(H)(1)

                          [“19-CV-03625”]

     2)          Manetironv Clervrain V. Edmund J Brown Jr        68(H)(1)

                          [“19-CV-01219”]

     3)            Manetironv Clervrain V. Dannell P Malloy.      68(H)(1)

                           [“20-CV-02939"]

     4)              Manetironv Clervrain I'. Pamela J Bondi      68(H)(1)

                           [“19-CV-00099’']

     5)            Manetironv Clervrain V Brian E Frosh           68(H)(1)

                             [“19-CV-00805"]




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VII                 V'The Ant(s) Reform Class Acf ^ {‘TARCA*’)          22( A)(1)(16)

       1)             Manetironv Clervmin V. Mark Gordon                    68(H)(1)

                                   [“21-CV-00132"]

       2)           Manetironv Clervrain V. Mike Diinleavy                   68 (II)(1)

                                 [‘'20-CV-00279’']

       3)             Manetironv Clervrain V Brian Kemp                     68(IIHD

                                          [“20-CV-00421”]

       4)            Manetironv Clervrain V Waldermar Rodriguez             68(H)(1)

                                          [‘‘20-CV-00538*’]

       5)             Manetironv Clervrain V. Garry Herbert                  68 (11)(1).

                                          [‘‘20-CV-00880”]

VIII                 VRieht Issues Claims Reform Act''’^ (“RICMA”)             22(A)

       1)             .Manetironv Clervrain V. Laura M. Lee                  68(H)(1)

                                          [“20-MC-00108”]

       2)             Manetirony Clervrain V Pierre Robert Joseph           68(H)(1)

                                      [“5D21-2146”]

A                        V^The Ant(s) Fear Liabilih^ Acn (“TAFLA”)            22 m (7)

       1)           .Manetironv Clervrain V. United states OfAmerican         68 (II)

                                     [“17-CV-03194"]

       2)           Manetirony Clervrain V. United Slates ofAmerica           68 (II)

                                     [“17-CV-00313”]

       3)           Manetirony Clervrain V. United Stales ofAmerica          68(H)

                                     [“17-CV-00132”]




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B                  V'The Ant(s) Fair Practices Acf\ (“TAFPA”)            33(A)(i-iv)

    1             Manetirony Clervrain V. United states OfAmerican        50(11) 0)

                                      [“


    2)             Manetirony Clervrain K United States ofAmerica           50 (II)(2)

                                           ['                ]

    3)             Manetirony Clervrain V. United States ofAmerica          50 (TI)(3)

                                  r                     ]

    4)              Manetirony Clervrain I'. United States ofAmerica       50 (II) (4)

                                      [“

C                UThe Ant(s) Financial Burdens AcC](“TAFBA”)                   16-20

    I            Manetirony Clervrain V. United states OfAmerican          50 (iv)(2)

                                      [“20-CV-04175”]

    2)           Manetirony Clervrain V. United States ofAmerica           50 (iv)(l)

                                 ['                     n
    3)              Manetirony Clervrain V. United States ofAmerica       50(iv)(4)

                                                        ’1

D                UThe Ant(s) FinancialMitiaatin*! A)ct'A (‘TAFMA       39-40 (I))(a-c)

    1                  V'Movement On Protective AcC] C‘MOPA”)                  12(a)

    2                UMultiplicitv Victim Reform Act"}(“MVRA’')             33-39(E)

         I         f'Mass Deportation Prohibition AcfA (“MDPA”)                16(A)

         II        UMass Incarceration Prohibition AcCA (“MIPA”)           51 (H)(1)

         III       UMarket Issues Manipulations Act'A (“MI?A")               20(VIII)




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    3)             {"’National Electronic Fillinn Reform Acf'^(“NEFRA")      1-83

A                          {'"Manetironv Clen'rain"}                        69(b)

    I                       V'Francis Osei-Fosii']                        50(FI(ID


          1)                       Abel Paul                        50(G)

         2)                     Mackenzie Alexis                    50(G)(110(2)

         3)                  Ashley Carmelle Dorsainville           50(G)(III)(3)

         4)                     Samuel Clcrvrain                     50(G)(111)(4)

         5)                Marie Natalie Jean Baptist Clervrain              50(F)

         6)                        Keiiinc Guerrier                  50(G)(iv)

         7)                       Niva Guerrier                     50(G)(iv)(1)

         8)                     Jennifer Alexis                     50(G)(iv)(2)

         9)                        Delz Regartc Cinucs              50(G)(IV)(3)

          10)                    Jean Gardy Gedeon                          50(F)

          1 1)                      Joanis Norinil                        34(C)(8)

          12)                       Wislene Casy                            50(F)

          13)                    James Berlin Simons               50(G)(iv)(4)

          14)                    Fridelyne Maisonneuve                    50(F)

          15)                    James Berlin Simons               50(G)(iv)(4)

          16)                         Alex Felix                          50(F)

          17)                     Max Jean Baptiste                       50(F)

          18)                     Wideline Veillard                  50(G)(iv)

          19)                       Boznai Romelus                         50(F)

         20)                       Lonica C. Casv                          50(F)
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          21)                     Joanne Deborah Jean Jacques Delva           33(C)(2)

          22)                             Baptiste Jean Louis                 33(C)(3)

          23)                            Marie Jasmine Malval                 33(C)(4)

          24)                                Ronaldo Jean                     33(C)(5)

          25)                                Evans Delva                      33(C)(6)

          26)                         Biglauwick Plaisimond                    33(C)(7)

          27)                             Edith Jean Jacques                  33(C)(8)

II                             {'''RoodeA Clervyghi ]                          33(O (1)

     B    Trade Inventions Parttiership Protection Onianizatiou'l (“TINPPO'’)       1-83


           1)      [''National Informative Public Grievous /ts’.v’l (“NIPGA”). ..55 (b)(3)


          2)...[''Nationa!Educative Bar Association Science''^ ('‘NEDBAS”)- --55 (b)(3)


C               Vlhiion Partnership Protection Omamzation"](“UPPO”)                 1-83


     1)         ["United Slates Patent And Trademark 0//?ce”1(USPT0)          20(AHl)


     2)          ["World Intellectual Properly OreanizatiofU](“WlPO")         20(A)(11


     3                       \‘'Ratificatio/i Punitive Aet"\(“RPA’)               39(E)

     4                       WNational Protective Act"'^ (“NPA”)                    39(El


i)                      \"Joe Biden President of United States']                39(1)

     1)                      Ariel Heniy PM of Haiti                           39( E)(5)

     2)               Cyi'il Ramaphosa President of South Africa             39( E)(5)

     3)             Scott Morrison PM of commonwealth of Australia            39( E)(5)

     4)               Juan Orlando Hernandez President of Honduras             39(E)(5)

     5)                   Miguel Diaz-Canel President of Cuba                  39(E)(5)



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       6)                 Sable-Work Zewde President of Ethiopia           39{ E)(5)

       7)                Justin Trudeau Prime Minister of Canada           39( E)(5)

       8)                  Jair Bolsonaro President of Brazil               39( E)(5)

       9)          Boris Johnson Prime Minister of the United Kingdom      39( E)(5)

       10)             Pedro Sanchez Prime Minister kingdom of Spain       39{ E)(5)

ii)                    {"Muhammadu Bithari President ofNisetia"]            37(B)(5)


       i)                     Paul Biya President of Cameroon               39( E)(4)

       2)           Mohamed Abdullahi Farmaajo President of Somalia         39( E)(4)

       3)                 James Little PAndrewM of NewZealand               39( E)(4)

       4)                     Daniel Ortega President ofNicaragua          39(E)(4)

       5)             Alejandro Giammattei President of Guatemala          39( E)(4)

       4)                Adama Barrow President of the Gambia              39( E)(4)

       5)               Andrew Holness PM of Jamaica                        39( E)(4)

       6)        Andres Manuel Lopez Ohrador President of Mexico            39( E)(4)

iii)                             Nath Kovind President of India'\          37(B)(5)


       1)                 Joao Louren^o President of Angola                39(E)(3)

       2)              Philip Davis Pm commonwealth of Bahamas              39( E)(3)

       3)            Alexander De Croo Prime Minister of Belgium            39(E)(3)

       4)        Johnny Briceno Prime Minister of commonwealth of Belize    39(E)(3)

       5)       Mokgweetsi Masisi President of commonwealth Botswana        39( E)(3)




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a)         \“Mette Fredeiiksen prime minister Ofkin2dom ofDenmark''^        37(B)(.5)

     1)                     Xi Jinping President of China                  39( E)(2)

     2).                    Emmanuel Macron President of France             39( E)(3)

     3)                   Sergio Mattarella President of Italy            39( E)(3)

     4)                    Uhuru Kenyatta President of Kenya              39( E)(3)

     5)                    Isaac Herzog President of Israel                39( E)(3)

     6)             Angela Merkel prime minister kingdom of Germany        39( E)(3)

     7)               Michael D. Higgins President of Ireland              39( E)(3)

b)                       V'Ehrahim Raisi President ofIvan"^               37(B)(5)

     1)                Abdel Fattah Al-Sisi President of Egypt             39( E)(2)

     2)                    Vladimir Putin President ofRussia               39( E)(2)

     3)             Ema Solberg Prime Minister of kingdom of Norway      ....39( E)(2)

     4)                Marcelo Rebelo dc Sousa President of Portugal        39( £)(2)

     5)         Guy Parmclin prime minister of republic of Switzerland     39(E)(2)

     6)               Stefan LofvTii Prime Minister of republic Sweden     39( E)(2)

     7)      Nicolas Maduro President of Bolivia republic of Venezuela     39( E)(2)

c)               [“ Mark Rutte Prime Minister ofkinsdom ofNetherlands'!. ..37(B)(5)

     1)                  Luis Lacalle Pou President of Uruguay            39(E)(1)

     2)                   Sebastian Pincra President of Chile             39( E)(l)

     3)                  Alberto Fernandez President of Argentina          39( E)(l)

     4)                        Ilir Meta President of Albania             39( E)(l)

     5)         Gaston Browne Prime minister of Antigua and Barbuda        39(E)(1)

     6)                    Armen Sarkissian President of Armenia         39(E)(1)




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     7)                     Alexander Van der Bellen President of Austria       39{E)(3

d)                     [“ Ilham Alive\'President ofAzerbaijan"]                  37(B)(5)


     1)                Alexander Lukashenko President of Belarus                 16(A)(3)

     2)                    Patrice Talon President of Benin                    16(A)(3)

     3)                     Luis Arce President of Bolivia                       16(A)(3)

     4)..Marinko Cavara President of the Federation of Bosnia and Herzegovina... 16(A)(3)

     5)                       Rumen Radev President of Bulgaria                 16(A)(3)

     6)              Roch Marc Christian Kaborc President of Burkina Faso        16(A)(3)

e)                  P' Evariste Ndavishimive President ^ffBurund^^               37(B)(5)


     1)                   Hun Sen Prime Minister of Cambodia                     16(A)(2)

     2)                 Jorge Carlos Fonseca President of Cape Verde             16(A)(2)

     3)...Faustin-Archange Touadera President of the Central African Republic... 16(A)(2)

     4)                 Idriss Dcbyrepublic chad President (killed )           16(A)(2)

     5)            Ivan Duque Marquez (Ivan Duque) President of Colombia.. . 16(A)(2)

     6)           Denis Sassou Nguesso President of Republic of the Congo        16(A)(2)

     7)...Felix Tshisekedi President of the Democratic Republic of the Congo     16(A)(2)

t)                  V Carlos Alvarado Ouesatla President of Costa Rica'l        37(B)(5)


     1)                    Zoraii Milanovic President of Croatia                 16(A)(1)

     2)                    Nicos Anastasiades President of Cyprus                16(A)(1)

     3)                 Milos Zeman President of the Czech Republic             16(A)(1)

     4)                 Ismail Omar Gucileh President of Djibouti              ...16(A)(1)

     5)               Luis Abinader President of the Dominican Republic          16(A)(1)

     6)                      Guillermo Lasso President of Ecuador.              16(A)(1)




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       7)                 ●Nayib Bukele, The president of HI Salvador               16(A)(1)

g)... V'Teodoro 0bian2 N2uema Mbasoso President (?f Equatorial Guinea'^]            37 (B) (5)

       1)                    Kersti Kaljulaid President of Estonia                  16(A) (4)

       2).                     Jioji Konrote President of Fiji                      16 (A) (4)

       3)                    Sauli Niinisto President of Finland                     16 (A) (4)

       4)                    Ali Bongo Ondimba President of Gabon                  16(A)(4)

       5)                 Katerina Sakellaropoiilou President of Greece            16(A) (4)

       6)                  Mamady Doumbouya President of Guinea                   16 (A) (4)

h)                     V'Janos Ader President of Hunsary'}                           37 (B) (5)

       1)            Umaro Sissoco Embalo President of Guinea-Bissau               16(A) (5)

       2)                 Fumio Kishida Prime Minister of Japan                     16(A) (5)

       3)               Kassym-Jomart Tokayev President of Kazakhstan                16(A) (5)

       4)                  Moon Jae-in President of South Korea                     16(A) (5)

       5)                    Egils Levits President of Latvia                       16(A)(5)

       6)                 Moeketsi Majoro Prime Minister of Lesotho                 16(A) (5)

       7)                    George Weab President of Liberia                       16 (A) (5)

iv)            [“ Daniel RischPrime Minister of the Reonklic of Liechtenstein^' }.. .37 (B) (5)

       1)                  Gitanas Nauseda President of Lithuania                    37 (A) (1)

       2)                 Xavier Bettel Prime Minister of Luxembourg                 37(A) (1)

       3)                 Stevo Pendarovski President of North Macedonia            37(A)(1)

       4)                  Andry Rajoelina President of Madagascar                   37 (A) (1)

       5)                      Lazarus Chakwera President of Malawi                 37(A) (1)

       6)                  Assimi Go'ita President of the Republic of Mali           37(A)(1)




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     7)                        George Vella President of Malta              37(A)(1)

a)               V'Mohamed Quid Ghazouani President ofMauritania'']         37(Bli5)

     1)                    Maia Sandu President of Moldova                 37(A)(4)

     2)                  Milo Dukanovic President of Montenegro            37(A)(4)

     3)...Saadcddine Othinani Head of Govemment of the Kingdom of Morocco..37(A)(4)

     4)                   Filipe Nyusi President of Mozambique               37(A)(4)

     5)                     Hage Geingob President of Namibia                37(A)(4)

     6)                    Lionel Aingimea President of Nauru              37(A)(4)

b)                   V'Mohamed Bazoiim President ofNi2er"]                 37(B)(51

     1)                  Laurentino Cortizo President of Panama              37(A)(2)

     2)              James Marape Prime Minister of Papua New Guinea         37(A)(2)

     3)                Mario Abdo Benitez President of Paraguay            37(A)(2)

     4)                    Pedro Castillo President of Pem                  37(A)(2)

     5)               Rodrigo Duterte President of the Philippines          37(A)(2)

     6)                 Andrzej Duda President of the Republic of Poland   37(A)(2)

c)                       I'^Klaus lohattnis President of Romania"]         37(BH5).


     1)                     Paul Kagame President of Rwanda                  37(A)(3)

     2)           Timothy Sylvester Hams Prime Minister of Kitts and Nevis...37(A)(3)

     3)...Ralph Gonsalves Prime Minister of Saint Vincent and the Grenadines...37(A)(3)

     4)..Fiame Naomi Mata‘afa Prime Minister of the Independent of Samoa     37(A)(3)




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d)..\""CarIos Vila Nova President ofthe Republic ofSao Tome and Principe'^   37(B)(5)


       1)                     Macky Sail President of Senegal                37(A)(5)

       2)                     Aleksandar Vucic President of Serbia            37(A)(5)

       3)                 Wavel Ramkalawan President of Seychelles            37(A)(5)

       4)                  Julius Maada Bio President of SieiTa Leone         37(A)(5)

      5)                    Zuzana Capuiova President of Slovakia             37(A)(5)

      6)                        Borut Pahor President of Slovenia            37(A)(5)

e)                   V" Manasseh So^avare Prime Minister ofSolomo^^^         37(B)(5)


       1)                Abdalla Hamdok Prime minister of Sudan              36(X)(1)

       2)                 Emomali Rahmon President of Tajikistan              36(X)(1)

       3)               Sarnia Suluhu Hassan President of Tanzania            36(X)(1)

f)                      V'Francisco Guterres President ofEast Timor''\        37(B)(5)


       1)              Paula-Mae Weekes President of Trinidad and Tobago     36(X)(2)

       2)                     Kais Saied President of Tunisia                36(X)(2)

       3)              Salmane ben Abdelaziz A1 Saoud king of Saudi Arabia    36(X)(2)

i)                      V'Ashraf Ghani President ofAfghanistan*-]             37(B)(5)


       1)                   Ebrahim Raissi President of Iran                 36(X)(4)

       2)                 Abdul Hamid President of Bangladesh                36(X)(4)

       3)                 Hamed ben Issa A1 Khalifa King of Bahrain          36(X)(4)

       4)                 Jigme Khesar Wangchuck King of Bhutan               36(X)(4)

       5)                      Hassanal Bolkiah King of Bmnei                36(X)(4)

       6)                      Azali Assoumani President of Comoros          36(X)(4)


       7)                  Alassanc Ouattara President on Ivorv Coast        36(X)(4)




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        ii)                              {"Charles Savarin President ofDominica"]                           37(B)(5)


                 1)                      Mohamcd ben Rachid A1 Maktoum King oi'UAE                        36(X)(5)

                 2)                         Salome Zourabichvili President of Georgia                     36(X)(5)

                 3)                            Nana Akufo-Addo President of Ghana                          36(X)(5)

                 4)                                  Elissbeth II Queen of Grenade                        36(X)(5)

                 5)                                  Irfaan Ali President of Guyana                        36(X)(5)

                 6)                         Prithvirajsing Roopun President of Mauritius                  36(X)(5)

                 7)                            David Kabua President of Marshall Islands                  36(X)(5)

                                                     Barham Salih President of Iraq                        36(X)(5)

                 9)                                     Abdallah 11 King of Jordan                          36(X)(5)

                 10                                Taneti Maamau President of Kiribati                      36(X)(5)

        iii)                             {"Viosa Osmani President ofKosovo''^                               37(B)(5)

                 1)                  Nawaf Al-Ahmad Al-Jader Al-Sabah king of Kuwait                         34(D)(1)

                 2)                      Bounnhang Vorachith President of Laos                               34(D)(1)

                 3)                       Michel Aoun President of Lebanon                                  34(D)(1)

                 4)                       Mohamed Al-Menti President of Libya                                34(DUD

                 5)                   David W.Panuelo President of Micronesia                                34(D)(1)

                 6)                        Hage Geingob President of Namibia                                34(D)(1)




         Here, the plaintiff is alleged that he is suing the defendants in both their ['‘official”] and[‘individual ']
capacities, pending for additional defendants, they should be no page limitation against the activist for access to the
courts, At a mininiinn, a plaintiff has showing that the official at least implicitly authorized, approved, or knowingly
acquiesced in the constitutional violation iftheyfailed to ratify illegal laws..Johnson v. Outboard Marine Carp. 172 F.3d
531 (8lh Or. 1999}




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a)                  V Muhammadu Buhan President ofiXiiieria ']            37(B)(5)

     1)                 Haitham ben Tariq King of Oman                    34(D)(2)

     2)               Shavkat Mirziyoyev President of Uzbekistan          34(D)(2)

     3)               Tamim ben Hamad Al Tliani King of Qatar            34(D)(2)

     4)   Francesco Miissoni Giacomo Simoncini President of San Marino    34(D)(2)

     5)                   Halimah Yacob President of Singapore           34(D)(2)

     6)                   Salva Kiir President of South Sudan            34(D)(2)

b)                  V'Gotahava Raiaoaksa President ofSri Lanka"\          37(B)(5)

     1)                Chan Santoklii President of Suriname               34(D)(3)

     2)                   Isaias Afwerki President of Eritrea            34(D)(3)

     3)                     Mswati 111 King of Eswatini                  34(D)(3)

     4)                   Bashar al-Assad President of Siiya             34(D)(3)

     5)                   Tsai Ing-wen president of Taiwan               34(D)(3)

     6)               Nguyen Xuan Phuc President of Vietnam              34(D)(3)

     7)               Tallis Obed Moses President of Vanuatu             34(D)(3)

c)                           V'Tiwou VI kins ofTomia' ^                   37(B)(5)

     1)                 Kim .Tong-Un President of North Korea             34(D)(4)

     2)                Bidya Devi Bhandari President of Nepal             34(D)(4)

     3)                    Elisabeth II Queen of Niue                     34(D)(4)

     4)                    Pope Francis King of Vatican                   34(D)(4)

     5)               Emmerson Mnangagwa President of Zimbabwe            34(D)(4)




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VIII                       V'The Ant(s) Witness Act"](“‘TAWA")           22(A)(1)(1)

       1)                Manetirony Clervrain V. Christopher Way            68(H)(1)

                                      [“20-CV-0540”]

       2)               Manetironv Clervrain V. Mark Brnovich                68 (IT)(1)

                                     [“21-CV-00150”]

       3)                Manetirony Clervrain V. Dennis Richardson         68(H)(1).

                                   [“20-CV-00367”]

       4)             Manetironv Clervrain V. William D Schuelte            68(H)(1)

                                  [“20-CV-13446”]

       5)             Manetirony Clervrain V Christopher S Porrino           68(11)0)

                                    [‘‘20-CV-05462”]

IX                       V'The Ant(s) Movement Act"](“TAMA”)              22(AHDID.

       1)            Manetironv Clervrain V. Kathleen Hawk Sawyer            68(H)(1)

                                [“20-CV-00348”]

       2)            .Manetirony Clervrain V. Tracey Toutman                68(H)(1)

                                 [“20-MC-00028”]

       3)              Manetirony Clervrain V. Racquel Wilson                68 (II)(1)

                                   [“20-CV-02061”]

       4)              Manetironv Clervrain V Esther Alcocer Koploqitz       68 (II)(1)

                                   [“20-CV-00358”]

       5)              Manetironv Clervrain V. Maura Healey                   68(H)(1)

                                   [“19-CV-10371”]




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    6)              Manetironv Clei'vrain J'. Joshua Stein              68(H)(1)

                                [“19-CT-03056”]

A                    V'The Ant(s) Duty Mitwatins Act'l(“TADMA”)              16-21


    i)                    United States Court ofFederal Claim'l          23-31 (C)

           1)            Brian H. Corcoran, Chief Special Master           18 (iv)

           2)                     Nora Betli Dorsey                         18 (iv)

           3)                       Thomas Gowen                            18 (iv)

           4)                       Daniel Homer                             18(iv)

           5)                          Christian J. Moran                  18 (iv)

           6)                      Katherine E. Oler                       18 (iv)

           7)                     Mindy Michaels Roth                      18 (iv)

           8)                     Herbrina D. Sanders                       18 (iv)

    u)                      {‘"Court ofInternational Trade"]             23-31 (C)

    iiO                  {"’United States Federal Circuit Collrt'’^      57( b)(2)

    iv)                   {"United States Supreme CourC]                  57(b)(1)

B                           {"'International Court ofJustice"'}          23-31 (C)

C                   {"The Ant(s) Conflict Laws AcC^ (“TACLA’')        22(A)(I)(8)

    1)                 .Manetironv Clervrain V. Rachel Chapa            68 (II)(1)

                                [●H7-CV-00452”]

    2)                  .Manetironv Clervrain V. Charles Samuel          68 (H)(1)

                                [‘●18-CV-00468”]

    3)                    Manetironv Clervrain V. Sara M Revell         68 (II) (1)

                                 [“18-CV-03166”]




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    4)               .Manelirony Clervrain V. John Caraway          68(H)(1)

                             [“18-CV-00819"]

    5)                 Manetirony Clervrain V. Mary M Mitchell.      68(H)(1)

                              [“18-CV-01716”]

    6)               Manetirony Clervrain V Michael Carvajal          68(0)(1)

                             [“18-CV-01514”]

    7)                .Manetirony Clervrain V J.A Keller            68(H)(1)

                             [‘4 8-CV-01854”]

    8)                 Manetirony Clet'vrain V. Angela Dunbar         68(H)(1)

                            [“18-CV-01205”]

D                       \Mhe Ant(s) Benefits Ac.n (“TABA”)         22(A)(IU2J

    1)               Manetironv Clervrain V. Andrew Saul             68(H)(1)

                          [“20-CV-001U”]

    2)                Manetironv Clervrain V. Jose Castanade         68 (11)(1)

                          [“19-CV-00046”]

    3)               Manetirony Clervrain V. David Barkebile         68(H)(1)

                          [“17-CV-00089”]

    4)               Manetirony Clervrain V. Randolph D Tex Alex     68 (H)(1)

                          [“20-CV-00132*']

    5)             Manetironv Clervrain V. James WMcCanient          68(H)(1)

                          [“20-CV-00122”]




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E              \'"The Ant(s) Prohibition Deiiradin2 Acf]("TAPDA”)         50(F)


    1)              Manetirony Clerwain      Tracey Jhon            23(A)(1)(21)

                          [“18-CV-00038"]

    2)              Manetirony CJervrain V. Ronald Martinez         22(A)(I)(20)

                          [“18-CV-00018”]

    3)              .Manetironv Clervrain V S. Julian               22(A)(1)(3)

                          [“18-CV-0005ri

    4)               .Manetironv Clervrain V. Stacey Stone          22(A)(I)(12)

                          [“18-CV-00028”]

    5)               .Manetironv Clervrain V. Sean M.Kuta           22(A)(1)(18)

                          [“18-CV-00083‘^j

F                        V'The Ant(s)Danner Act'"^ (“TADA”)         22(A)(I)(12)


    1)                .Manetironv Clervrain V. Gretchen Whiime         68 (II)(1)

                          [“20-CV-13431”]

    2)             Manetironv Clervrain V. Dong Burgum                68(H)(1)

                          [“21-CV-00146”]

    3)                Manetironv Clej-vrain V Eric T Schneider         68(H)(1)

                          ['

    4)                Manetironv Clervrain V. Elaine F Marshall.       68(H)(1)

                          [“21-CV-00316”]

    5)               .Manetironv Clervrain V. Mark A Yancer           68(H)(1)

                         ['




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G                \'^The Ant(s) Riuht(s) Litii'afion Act"^ (“TARLA")   22(A)(l)(^


    1)               .Manetironv Clervrain V. Sfanicv    Crocket        68(H)(1)

                             [“20-CV-01420”]

    2)                .Manetironv Clervrain V. Robert Dawn               68(11)0)

                             [“20-CV-00922'’]

    3)                Manetironv Clervrain V. Donald Washington          68(H)(1)

                              [“20-CV-05706’']

    4)                 Manetironv Clervrain I’ Quicy L Booth              68(H)(1)

                              [“20-CV-10046”]

    5)                .Manetironv Clervrain V. Adam Paul la.xalt         68(H)(1)

                              [“21-CV-00275”]

X                     {‘'The Ant(s) Community Act"](“TACA”)           22(A)(1)(6)


    I)                  Manetironv Clervrain H. Dianna J Duran          68(H)(1)

                          [“20-CV-01329”]

    2)             Manetironv Clervrain V. Matthew Dunlap                68(H)(1)

                           [“20-CV-00404”]

    3)             Manetironv Clervrain V. Jeffrey W Bullock            68(H)(1)

                           [“20-CV-01729"]

    4)              Manetironv Clervrain V. Adam Paid Laxalt            68(H)(1)

                           [“21-CV-00274”]

    5)             Manetironv Clervrain V. Lawrence G Wasden            68(H)(1)

                               [“20-CV-00571”]




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A                  \ ‘The Antis) Secretive Reform Ac^^(“TASRA”)    22.(AJ,.a)

    1)             Manetirony CJervrain I'. Joseph Eldow          68(H)(1)

                            [“20-CV-00182”]

    2)             Manetironv Clervrain K Matthew TAlbence         68(H)(1)

                              [“20-CV-03105”]

    3)             Manetironv Clervrain V. Kenneth T Cuccinelli    68(H)(1)

                             [^‘20-CV-00989”]

    4)               Manetironv Clervrain V. Francis Cissna         68(H)(1)

                                  [“20-CV-02197"]

    5)              Cobbina Osei Francis V. Merrick B. Garland       68(in(l)

                                   [“20-CV-00297"]

B                      V'The Ant(s) Freedom AcC\(’TAFA”)           22(A)(I)(7)

    1)                Manetironv Clervrain V. Chantel Kreb(s)         68(H)(1)

                            [“●


    2)             Manetironv Clervrain V.Ruth R. Hugh(s)            68 (H)(1)

                             nO-CV-04285”]

    3)             Manetironv Clervrain W Steve Sisolak             68 (H)(1)

                             [“21-cv-oooir’]
    4)             Manetironv Clervrain V. Kim Wayman Cera           68 (H)(1)

                            [“●                 1
    5)             Manetironv Clervrain V. Daniel Cameron            68 (H)(1)

                                  ni-CV-00394”]




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C                        V^The Ant(s) Victim Acf'](“TAVA"’)             50(F)


    1)            .Manetirony Clervrain V. Xavier Becera            22(A)(I)(12)

                             [“21-CV-0537r’j

    2)             Manetironv Clervrain V Richard Michael Dewine    23(A)(T)(21)

                               r21-CV-01303”]

    3)                .Manetironv Clervrain V. Tim Fox              22(A)(I)(3)

                               [“20-CV-00189”]

    4)               Manetirony Clervrain V. Steven Troy Marshall   22(A)(I)(12)

                                [“20-CV-01024”]

    5)             Manetirony Clervrain V. Delbert Hoseman          22(A)(I)(18)

                                 [“21-CV-0014r]

D                       T"The Ant(s) Secretive AcC^ (“TASA”)            22(A)(I)


    1)             Manetironv Clervrain V Charles Adkins Branch        68(H)(1)

                           [“20-CV-00226”]

    2)             Manetironv Clervrain V. David Ferriero             68(H)(1)

                           [“20-CV-00136’^]

    3)             Manetirony Clervrain V. Charles P Rettig           68(H)(1)

                           [“20-CV-00402’‘]

    4)             Manetirony Clervrain V. JejfSessions                68(H)(1)

                               [“17-CV-01858'’]

    5)             Manetironv Clervrain V. Charles Samuel Jr.          68(H)(1)

                               [“14.CV-00107”]




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E                    V'The Ant(s) Systematic Treaties Act''](“TASTA”)   22(A)(I)(5)

     1)                Manetironv Clei’xrain V. Jose Santana             68(H)(1)

                                  [“19-CV-Ol 1 18”]

     2)                Manetironv Clervrain V. Donna Melicndick          68(H)(1)

                                   [“18-CV-01087”]

     3)              Manetironv Clervrain V. Mattherw Mellady            68(H)(1)

                                   [“18-CV-03014]

     4)                Manetironv Clervrain V Eric H Holder               68 (11)(1)

                                    [“19-CV-00S90”]

     5)              Manetirony Clervrain V. JeffSessions                 68 (H)(1)

                                    [“18-CV-03039”]

1                   {'Master Hearing for lllesal Convictions''^           22(D)(3)

a)            {"United State ofAmerica V. Manetironv Clervrain ”]         69(b)2)


                               [“H2-CV-61943-JIC”]

b)              {"United State ofAmerica V. Mackenzie Alexis ”]            4(I)(1)

                                [“07-CR-20193”]

     1)           {"United State ofAmerica V. CrcQorv Alexis"]             4(I)(l)

                                [“07-CR-20193”]

     2)            {"United State ofAmerica V. James Deris"]              4(I)(l)

                                [“ll-CR-20074”]

     3)          {"United State ofAmerica V Jean Gardv Gedeon ”1            4(I)(1)

                                  [“12-CR-00212”]




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     3)           V'United State ofAmerica V Hussein S Cherv "]                    4(I)(1)

                              [“12-CR-00120'’]

     4)               Y'Vnited State ofAmerica V. Paul Abel’']                    .4(DO)

                               [“07-CR-20193*']

     5)                 UUnited State ofAmerica V. Cubbing Osei-Fosu']             4(D(1)

                               [“GLR-1-14-CR-00600-004’*]

     6)              UUnited Stale ofAmerica V. Shamback Francois']                  4(D(1)

                                    [“16-CR-00334n

     1)              UVnited State ofAmerica V Theophilns Ahvei”]                  .4(DO)

                                  [“ll-CR-00199”]

c)              U United State ofAmerica V. Josette Jean Jacques"]                69(b)(2)

                                    [●‘07-CR-20193”]

II                   ^National Issues Performance AcU\ (“NIPA”)                       33 (A)

     1)          UManetironv Clervrain V. United Slates ofAmerica”]               23 (C)(3)

                                 ni-CV-01919”]

     2)              UManetiron r Clervrain V. Quincv L Booth "]                  23 (C) (3)

                                      [“21-2134”]

B               ^Countries Affairs Treaties Function AcU^ (CATFA)                  51 (ID

            URacketeerins Influence and Corrupt Organization Act"] ("RICO"). . .21 (D)

           a)                  Tlic Shennan Act (TSA)                                1-83


          b)                     The Clayton Act (TCA)                               1-83


           c)... .International Convenant on Civil and Political Rights (ICCPR)       1-83


           d)        American Convention on Human Rights (ACHR)                      1-83




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    2)     V'Euronean Convention for the Protection ofHuman Rights"}      72 am

1                       V'Uiiited Srafes Of America'l                     50(G)

    a)                    V"Republic Of                                20(A)(I)

         1)               Republic of South Africa                      20(A)(I)

         2)               Commonwealth of Australia                      20(A)(!)

         3)               Republic of Honduras                         20(A)(I)

         4)                 Republic of Cuba                            20(A)(I)

         5)                    Republic of Ethiopia                    20(A)(1)

         6)                    Republic Of Canada                       20(A)(1)

         7)                    Republic of Brazil                      20(A)(!)

         8)               Kingdom of Britain                            20(A)(!)

         9)                    Kingdom of Spain                        20(A)(!)

         10)                  Republic of Nigeria                      20(A)(1)


          11)                 Republic of Cameroon                     20(A)(!)

         12)                  Republic of Somalia                       20(A)(I)

         13)                Republic of New Zealand                    20(A)(I)

          14)                Republic of Nicaragua                      20(A)(I)

          15)               Republic of Guatemala                        20(A)(!)

          16)                Republic of Gambia                          20(A)(1)

          17)                 Republic of Jamaica                      20(A)(1)

          18)               United Stales of Mexico                      20(A)(I)

    b)                       V"Republic oi Imlia']                          5 (iii)




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n                    V'Nations Union Treatment Act'](NUTA)   22-23(A)(1-11)


    a)                     V'RevubUv ofAjiaola'l                50(lY)(2)


    b)                   V^Commomyealth of Bahamas"]               20(A)(})

         1)                 Kingdom of Belgium                     20(A)(2)

         2)                Commonwealth of Belize                  20(A)(2)


         3)                 Republic of Botswana                   20(A)(2)


         4)                 Kingdom of Dcnntark                     20(A)(2)

         5)                  Y'Republic of China"]                 20(A)(2)

         6)                  l^'R^public ofFrance'}                20(A)(2)


         7)                  [''Republic of]laiv'"'\                20(A)(2)

         8)                     Republic of Kenya                  20(A)(2)


         9)                     Republic of Israel                  20(A)(2)


         10)                   Kingdom of Germany                   20(A)(2)

         11)                   Republic of Ireland. Iran           20(A)(2)

         12)                      Republic of Egypt                20(A)(2)

         13)                    Federation of Russia               20(A)(2)

         14)                   Kingdom of Norway                   20(A)(2)


         15)                  Republic of Portugal                 20(A)(2)


          16)              Republic of Switzerland                  20(A)(2)


          17)                 Kingdom of Sweden                     20(A)(2)


          18)            Bolivian Republic of Venezuela             20(A)(2)


          19)              Kingdom of Netherlands                  20(A)(2).


         20)                 Republic of Urnguay                   20(A)(2)




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           21)                    Republic of Chile                         20(A)(2)

111                    V'Mitifiatiou Issues For Dander Act"](MIFDA)    22-23(A)(I-II)


      a)                       V Repiihlic ofAnfenrimi"]                50(10(B)(2)

           1)                    Republic of Albania                         20(A)(3)

           2)                Republic of Antigua and Barbuda                  20(A)(3)

           3)                    Republic of Armenia                         2001)(3)


           4)                    Republic of Austria                        20(A)(3)

           5)                    Republic of Azerbaijan                     20(A)(3)

           6)                     Republic of Belarus                       20(A)(3)

           7)                      Republic of Benin                         20(A)(3)

           8)                     Republic of Bolivia                        20(A)(3)

           9)               Republic of Bosnia and Herzegovina              20(A)(3)

      b)                         V'Repuh/ic of Bulmiria'A                 50(IV)(2)

IV                      V"Prevention Terroristn Secretive Act'](PTSA)....22-23(A)(I-IT)

      )                        {'"Republic ofBurkina Faso"]                50(JV)(2)


           a)                    Republic of Burundi                          50(H)

                  1)             Republic of Cambodia                          50(11)

                 2)              Republic of Cape Verde                       50 (ID

                 3)              Central African Republic                      50 (II)

                 4)                 Republic of Chad                           50(11)

           b)                      \'''Republic ofCohinihiaA                    50(11)

                 5)                 Republic of Congo                          50 (II)

                 6)              Democratic Republic of Congo                50(H)




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                                    7)                 Republic of Costa Rica                                   50(U)

                                    8)                    Republic of Croatia                                    50 (II)

                                    9)                      Republic of Cyprus                                  50 (in
                  V              V^Media Issues Publicutiou Provision Acf^(MIPPA)                        22^23(A) g-II)

                           a)                               V'Czech Republic"]                                may)a)
                                    1)                    Republic of Djiboiti                                50(U)(l)

                                    2)                    Republic of Dominica                                  50(H)(1)

                                    3)                      Republic of Ecuador                                 50 (II)(1)

                           b)                             \'^Republic ofElsavadof)                             50(IV)(2)

                                    4)                 Republic of Equatorial Guinea                             50(in(i)

                                    5)                       Republic Of Estonia                                50(H)(1)

                                    6)                       Republic Of Fiji                                   50(11)(1)

                                    7)                       Republic of Finland                                 50(H)(1)

                                    8)                      Republic of Garboii                                50(H)(1).

                                    9)                       Republic Of Greece                                 50(H)(1)

                                    10)                     Republic of Guinea                                 50 (IT)(1)

                                    11)                       Republic of Hungary                               50(11){1)

                                    12)                    Republic of Guinea Bissau                           50(H)(1)




         Under the transitory' torts doctrine, however, “the only justification for allowing a party to recover when the
cause of action arose in another civilized jurisdiction is a well founded belief that it was a cause of action in that place,
and the question is instead whether the court has authority to recognize a cause of action under U.S. law to enforce a
norm ofinternational law. Cuba R. Co. 3'. Crosby. 222 U.S. 473, 479. 32 S. Ct. 132. 56 L. hd._2_74(1912)




                                                             44




                          4)                    Republic of Montenegro                                         50 (II)(3)

                          5)                    Republic of Morocco                                           50(H)(3)

                          6)                   Republic of Mozambique                                           50 (ID (3)

                          7)                       Republic of Nambia                                           50(11)(3)




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A          \"Prevention On Genocide Nationalih . icf'}(POGNA)   22-23(AHl-11)

    1)                   VRenublic ofIceland']                     50 qv)(2)

    i)                    Republic of Japan                        50(11)(2)

          1)            Republic of Kazakhstan                      50 (11)(2)

          2)             Republic of South Korea                    50(H)(2)

          3)                  Republic Latvia                       50(H)(2)

          4)               Republic of Rcsotho                      50 (II)(2)

          5)               Republic of Liberia                       50(H)(2)

          6)            Republic of Liechtenstein                    50 (II)(2)

          7)              Republic of Lithuania                      50(H)(2)

          8)             Republic of Luxembourg                      50 (II)(2)

          9)            Republic of Macedonia                        50(H)(2)

    ii)                  V'Repuhlic ofMadiniascar"~\               50(m(2)

B                V'Family Union Treaties Criminal Act"](FUTCA)...22-23(A)

    1)                    I'^Reimhlic ofMalam"']                    50(IV)(2)

    a)                    Republic of Mali                           50(H)(3)

          1)               Republic Malta                           50(11)(3)

          2)             Republic of Mauritania                     50 (II)(3)

          3)             Republic of Madova                         50(H)(3)

          4)             Republic of Montenegro                      50 (II)(3)

          5)             Republic of Morocco                        50 (II)(3)

          6)            Republic of Mozambique                        50(ID (3)

          7)               Republic ofNambia                         50(H)(3)




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                   8)                      Republic of Nauzu                                                  50 (f[)(3)

                   0)                       Republic of Niger                                                  50 (II)(3)

                   10)                      Republic of Panama                                                50(11)(3)

         b)                     V'ReDuhlic ofPapua                  Guinea']                                 50(IV)(2)

I                                        V"Republic OfParamiav'*]                                            50 qv)(2)


         1)                                     Republic of Peru                                             50(ID (4)

         2)                                   Republic of Philippines                                         50(H)(4)

         3)                                    Republic of Poland                                               50 (II)(4)

         4                                     Republic of Romania                                             50(H)(4)

         5)                                Republic of Rwanda                                                50(ID (4)

         6)                                  Saint Kitts and Nevis                                           50(H)(4)

         7)                               St.Vincent and Grenadines                                           50(H)(4)

         8)                                    Republic of Samoa                                               50 (II)(4)

         9)                                Sao Tome And Principal                                               50(H)(4)

         10)                                   Public of Senegal                                             50(H)(4)

          11)                                  Republic of Serbia                                             50(H)(4)

          12)                                  Republic of Seychelles                                          50(ID (4)

          13)                                Republic of Sierra-Leone                                        50(ID (4)




           ("[A]II actions of a transitory nature that arise abroad ma\ he laid i/i happening in an English
county"): ("Wherever, bv either the common law or the statute law oja State, a right oj action has becomefixed and a legal
liability incurred, that liability may be enjoveed and the right of action pursued in any court which has jurisdiction ofsuch
matters and can obtain jurisdiction ofthe parties "). Dennick v. Railroad( o., 103 U.S. II, 18. 26 L. Ed. 439(1881)




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D               V'Treaties On Widespread Crimes Act''^ ('‘TONVVA‘")...22--23(A)(l-II)

     i)                      V'Republic oi Slovakia"}                   50(IV)(2)


           1)                  Republic of Slovenia                        50(IV)

           2)              Republic of Solomon Islands                    50(IV)

           3)                    Republic of Sudan                         50(IV)

           4)                    Republic of Tajikistan                   50(IV)

           5)                      Republic of Tanzania                    50(IV)

           6)                  Republic of Timor Lcste                     50(IV)

           7)                 Republic of Trinidad and Tobago               50(IV)

           8)                    Republic of Tunisia                   50(IV)

           9)                      Republic ofTurkey                   50(IV)

     n)                      V"Republic of Turkmenistan''^              50 gv)(2)

E               V'Treaties Educative Crimes Scene Act'"](TECSA)      22-23(A)(I-II


     I)                        Republic of Tuvalu                        50(IV)(1)

     2)                        Republic of Uganda                        50(IV)(1)

     3)                        Republic of Yemen                         50(IV)(1)

     4)                        Republic of Zambia                        50(IV)(1)

     6)                       Republic of Saudi Arabi                   50(IV)(1)

     7)                       Republic of Afghanistan                   50(1V)(1)

     8)                           Republic Of Iran                       50(IV)(1)

     9)                      Republic Of Bangladesh                      50(1V)(1)

     10)                      Republic of Bahutan                        50(IV)(1)

i)                            {'Republic oi Brune^^                    50(TV)(2)




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                 1)                                 Republic Of Comoros                                 50(IV)(1)

                2)                                  Republic of Dominica                                 50{W)(\)

                3)                           Kingdom of United Arab Emirates                           50(IV)(1)

                4)                                   Republic of Georgia                                 50(1V)(1)

                5)                                   Republic of Ghana                                50(IV)(1)

                6)                                Republic of Grenada                                 50(IV)(1)

                 7)                                Republic of Guyana                                50(IV)(1)


                 8)                               Republic of Mauritius                               50(1V)(1)

                 9)                             Republic of Marshall Island                           50(IV)(1)

        ii)                                     {'’'’Republic ofIvon' C()ast'^                           50 riV)(2)


                 1)                                   Republic of Iraq                                   50(IV)(3)

                 2)                                  Republic Of Jordan                                  50(IV)(3)

                 3)                                  Republic of Kiribati                                 50(IV)(3)


                 4)                                 Republic of Kosovo                                   50(IV)(3)

                 5)                                  Kingdom of Kuwait                                 50(IV)(3)

                 6)                                   Republic of Loas                                  ,50(IV)(3).


                 7)                                 Republic of Lebanon                                    50(IV)(3)

                 8)                                 Republic of Lybia                                     50(IV)(3)

                 9)                                 Republic of Micronesia                              50(IV)(3)




         We are asking if the defendants are \"Racist hv J\'uUive’'\ is related Matters tor questioiiing each nt the
delendanls countries, including to explain what is the meaning of \"Nationa!ity"\. or by applying the concept ol V'VjUMl
Classification Ac^^ (“UCA") or ('‘UCCA"), or common crimes, they are claims for public o]hnion at the defendants
expenses. or mailer exercise their power. Rurford v. Sun Oil Co. 3 PUhS,.31 ! 1943:




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iii)                        [ Remthlic of Wamhia''\               50(»V)(2)

       1)                     Republic of Nigeria                     50(B)(1)

       2)                      Republic of Oman                       50(B)(1)

       3)                     Republic of Uz.bckitan                  50(B)(1)

       4)                       Republic of Qatar                      50(B)(1)

       5)                   Republic of San-Marino                    50(B)(1)

       6)                    Republic of Singapore                    50(B)(1)

       7)                   Republic of South Sudan                    50(B)(1)

       8)                     Republic of Sri Lanka                   50(B)(1)

       9)                     Republic of Suriname                    50(B)(1)

       10)                   Republic of Eritrea                       50(B)(1)

iv)                          V'Kwsdoin ofEswatJnr]                    50nVH2)


       1)                     Republic of Sirya                        50(B)(4)

       2)                     Republic of Taiwan                      50(B)(4)

       3)                   Republic of Vietnam                       50(B)(4)

       4)                     Republic of Vanuatu                      50(B)(4)


       5)                     Republic of Tonga                        50(B)(4)

       6)                   Republic of North Korea                   50(B)(4)

       7)                      Republic of Nepal                      50(B)(4)

       8)                     Kingdom of Vatican                       50(B)(1)

       9)                     Republic ofZimbabwe                     50(B)(D




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F                   \"The Ant(s) Generality Act"}(‘TAGA'’)          22-23(A)(I-in


      1)       Manetirony Clerwain V United States OfAmerica            22(A)( I)(3)

                                     [“20-CV-00480”]

      2)       Manetirony Clervrain V. United Stales ofAmerica          22(A)( 1)(3)

                                      [‘‘21-CV-00393’']

      3)       Manetirony Clervrain V. United States ofAmerica               50 (II)

                                      ['

G                V‘‘Criminals Issues Liahilities Concerns Acfl(CILCA)            6 (a).

I                        UDistnct Court ofKansas"]

      1)                   Eastern District of Texas                        ■20(A) (2)

      2)                Southern District of Mississippi                     20(A) (3)

II                  UNortheni District of West-Virainia'}                      75 (C)

III                      ^Southern District of Florida']                        7 (iii)

      1)                Northern District of Florida                           47 (D)

      2)                Eastern District of Pennsylvania                        .47 (E)

      3)                      District of Maryland                           48 (E) (I)

      4)                 Western District of Kentucky                        .48 (E) (II)

IV                        ^Northern District of Texas"]                       75 (C) (2)

      1)                Middle District of Pennsylvania                       ,49 (iii)

      2)                  Western District of Missouri                          21(D)

      3                  Northern District of Oklahoma                        75 (C) (3)

      4)                 Eastern District of Virginia                          49 (iv)

V                          ^District of New-Mexico"'}                          50 (F)




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                   MOVEMENT ON CRIMES MITIGATING ACT


       II. First, it must be determined whether a reasonable investigation should have uncovered


such mitigating evidence. If so, then a determination must be made whether the tailure to put this


evidence before the jury was a tactical choice before trial. If so, such a choice must be given the


presumption of rights;


        1) For the correctness, and the inquiry is generally at an end, is within this V^Motion for


enforcins Power or Guidance Asainst facially Attack bv Jnvokins the Ant(s) Nationality Act ]


(“TANA”), If the choice was not tactical and the performance was deficient, then it must be


detennined by;


       2) If there is a reasonable probability that, V'lSatiottaUtv"], {'‘"Alien Status^*] could possibly


be the proximate cause of his injuries in facts but, the result would have been different cause by


punitive laws;


       3) This court or the seventh circuit[“21-02258”] should never returned his motion filed, or


extended his {"Undue financiar\ or {"Pauveris Status' ^ because of the same similar situation to


consider by facts;


       a) On or about October 1, 2021 this court [“20-CV-04285”], which failed to explain why


the motion is largely nonsensical beyond reasonable intent          of congressional intent to inform


public interest;




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       b) That is to say that regardless if the plaintiff who is still in control theory by the agencies


actions, or lack of resources, including this time equitable reliefs to prove his claims against


widespread crimes;


       1) As such being the case [‘‘Dkt 10"] certainly explain exceptional circumstances wairant


for considering       want of prosecution if that ever existed, which the courts dismissed without


definite matters;


       2) That is because the judicial officials performance is being question, V'GrayJi^ Miller ^


must answer if her behavior effected his dismissal signed on October 1, 2021 or additional claims


for bias answers;


        3)Then because the plaintiff filed the various evidence to the various courts,[ 21-MC-0017 ]


contains some evidence for majority opinion, but because the courts tailed to provide him access


electronic filling;


        a) Then we arc asking the Northem District of Oklahoma to explain why? Prolific litigant


and his members should not have access to                  before serving the defendants to response


factual claims;


        b) As well as for this court in the western District of Missouri ['‘21-CV-04175 ] It


recognized that tlic cout1 had not decided the V"changed circunisUtnces'' \ question ot tacts that is


by national reliefs;




                                                  52
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       1) If the couits failed to consider then we are asking if the restrictions imposed imposed


V'Tort violations''^ against each of the judicial officials violated laws by way of extortion unless


they responding;


       i) The failure by the \'\/ud{'e. Nanette K. Lauirhrev'l is not beyond her perfonnance for


granted him (IFP),[‘‘Dkt, 1”]. that is because this motions filed are clearly understandable along for


amending rights;


       ii) If a reasonable person could evaluate the administrative records from the alleged facts.


the defendants are involved in the conspiracy, including even the various judicial officials against


the son of God;


       2) At least, this court , CJervrain v. Schinie! 20-CV-538 SRC (E.D. Mo. .lun. 9, 2020), but


failed to file motions, which in violation the rules, and congressional intent, or negligence or


conspiracy claims;


        a) Here, V'Judne Stephen R. Clark^^ can not denied the alleged claim against him, or it


appears that the western district is trying to claimed that the eastern district denied him (IFF)


without evaluating;


        b) The failure to decipher claims by the courts should not the options to extended injuries


because of his allegation of crimes, which the various judicial officials are aware ot the claims, but


failed to correct;




                                                 53
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       c) At this poini any allegations by the court int he western district of Missouri, is premature


and granted him (IFP) is matter of rights, particular to protect the public interest can not be effected


by control theoiy;


        i) The question for the courts involved conspiracy claims, is presenting to evaluate if the


courts failed to review widespread violations [“20-CV-00402”], or it whether the courts involved


illegal transfers;


        ii) That is something the Hastern District of Oklahoma can not denied [**20-CV-00398”], or


evidence to show to good cause exception is presenting against the defendants criminal enterprises


against recidivism;


        1) Then we asking the defendants if [“Dkt, 8"] contains right information, to compel


additional evidence or how many individuals suffered by the same judicial officials or within each


of the federal courts;


        2) Under [“Dkt, 10”] the plaintiff used the word V'Clear and convincins evidence"], or to


challenged the (“INA"), or \""ausravation concerns' ] or subject matter to V^Benefits'] public


interest by laws;


        a) Here, if we applying (“MOCMA”), at page, 88-94 (I-VI), which the plaintiff is filling a


Tort claim against each of the courts involved in conspiracy to restrict him to ligate his movement


by illegal means;




                                                  54
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       b) At the same time, at page, 94 (I)-99) concerns matter for the agencies to apply their


expertise within the true meaning, or ['■iuteUecljnU^'] or matter for [^inventionj^^hts'] to


mitigating crimes;


        1) On or about May 1, 2020 the plaintiff filed a petition for writ of Habeas Corpus ['‘Dkt,


1"], which what denied without cause, but for the courts to imposed additional restriction without


evaluate concerns;


        2) The public matters is being question against the defendants {"'Behavior Conflictinjii \, or


they are matters for {""Rishts"^ or {"lyronss ']. based upon the same facts that supported to engage


in serious crimes;


        3) If the court dismissed [“Dkt, 5”] On November 1 6, 2020 or failed to incoi-porated the


claims by Notices, or remarks     of    Patenf'] and V'Trailemark"] for his movement against the


defendant actions;


        a) Here, {''Behavior confliclinsi or Rights or Wrong”], or Title for his                to be


printed at the agencies expenses, or Matter for publication [“Dkt. 7'] will identify information to


discerning claims;


        b) As such being the cases the ground to infonn the public concerning revolutionary rights


can not be disregarded by the courts failure [Dkt, 8] they are matter for additional damages against


illegal practices;




                                                 55
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        b) Accordingly, the plaintiff motion to show good cause and reopening governmental


brutality is presenting withing reasoning, illegal                  or V\4lien Status “] as evidence


related matters;


        1) Here, under C^MOCMA"), at page 77(D)(I) is representing to the courts for evaluating


the defendants fear liability concerns, at, subsection [(I)(l-3)], or impact of emotional


distress liability;


        a) The negligent delivery type of situation, fear of cancer liability [“17-CV-00313"’], or that


is because the defendants exposure to death penally is presenting with direct evidence or as illegal


conviction claims;


        b) As such being the case, we presume that illegal judgments warrants actual pecuniary


damages may in all cases be measured is possible , it is the element of the cause of actions by the


authority brought;


        c) To the agencies attention [“17-CV-03194”], or that is for punitive damages because the


defendants conducts are motivated by evil intent, or when they involve reckless or callous


indifference issues;


        a) As well as they failed to protect the plaintiff, even so, or because their action are so


punitive 1“ fine^ and restitution should be imposed because the various judicial officials allegation


for moot status;




                                                 56
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       b) Moreover, punitive damages should be applied because of the defendants \"Oiiasi


criminar} procedures, [“1 l-CR-20074”], then we assiuned under the same principal for additional


damage by laws;


        1) That is including for the court [‘'12-CV-61943"’] to consider this cases for civil actions


for the alleged opposition to criminal misconduct, as the (’‘BIA’*) failed to consider the conspiracy


against the activist;


        i) Indeed, the (“BIA) remanded the cases to (“HOIR”), or failed to perfonn affimiative


actions, or follow the the other, be similar in character, or to be part of the overall of their plan by


criminal misconducts;


        ii) Under (“MOCMA”). at page (80)(C), that is for compelling grievances procedures, or


effecting his mental condition by way of imposition to serious crimes , or matter tor initiating


prosecution claims;


        2) As such being the cases the word [‘’‘’Recidivism"] under (“CIRANA”), or at page 79 (B)


[1-5”] they are serious issues, or for the defendants to release administrative records entirely to


assist procedures;


        3) To that extent the federal circuit court jurisdiction is to analysis the criminal enterprises


alleged based upon punitive laws. ["21-2131”], to enforce congressional power under the


commeree clauses;




                                                  57
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       a) The same effect is for majority opinions, or to apply V'Apex Doctrine''] against V'Moot


Status''^, that is a national relief[“Dkt, 22”] it express unique personal biowledge of facts relevant


to any of materials;


       1) Under the (“FOIA”) the inventor , or activist, is empowered to obtain copies of existing


document to be release (DOI), or relevant to the conspiracy claims alleged for additional damages


for individualism;


       2) To that extent we asking \"Mrs. Cynthia Sweeney '\ if the 70, 000 people are liable for


the conspiratorial claims, or infomiation to be release as part of the controversy to justify negligent


official misconducts;


       3) The request is referencing to the agencies and the courts [“DOl-OS-2022-00071”], that is


to infonn the public that there is more individuals involved in the V'trade secref'] or for future


communications;


       4) To that extent the plaintiff is proving that, he is concerning regarding each of the


agencies full biography, resumes, and related infonnation under (“MOCMA”), at page 94 (A)(1)


for questioning;


        5) As well for the office of the Secretary of the States or the Executive branches to delegate


power within the applicable laws , or to be review by the agencies actions within the same meaning


to enforce laws;




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        b) This is certainly not a final response for ["'MSPB”] to initiate investigation against the


various judicial officials on these cases, at page, 72-84 or allegations for evaluating negligence


agencies conducts;


        1) The we are including the document are part of the review for claim or additional injuries


in facts if they failed to pciform their duty [“MSPB-2022-000006'’] that is appear to be clear to


clarify function;


        2) That is because \"Mrs. Karen Kelly"] must infonn the chainnan concerning the illegal


convictions across the country, or to benefits the various ["Deportahle alien"] including family for


injustice matters;


        i) On or about about October 8, 2021 this court [“5D21-2146'’] granted plaintiff an


extension to file amended Notice of Appeal, which was filed to the court, but without consider


jurisdiction claim;


        a) Here, this court in the fifth district ofjurisdiction to investigate judicial officials concerns


or to evaluate damages by extortion imposed by illegal conviction, or constitutional question that


raise to litigate;


        b) For the federal questions, or predicating on the ground against Market Manipulation,


therefore, it is important for to be certain that the governments, or judicial officials arc following


procedural rules;




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       c) To that extent we asking if the courts must question the clerk V'Mrs. Sandra. B.


Willianr] who is the clerk, of the court [‘‘202I-CC-0083207-0"], and t show cause regarding


judicial conducts;


       ii) It is appears that the plaintiff is addressing claims for similar misconduct, those claims


are specifically, but also to evaluate due process clause of the Fourteen Amendment, or for federal


court concerns;


       a) it is entirely possible that the Florida federal courts would ha\’e resolved this case on


state statutory or constitutional grounds, without reaching the federal constitutional questions


raises in these cases.


       b) As we have noted, the Judicial officials arc involved in serious conspiracy in situations


like this offers the opportunity for nan'owing constructions that might obviate constitutional issues


for damages rights;


        1) The short of the matter is this: the suit involves a claim for breach of a contract, part of


the consideration for which was dismissal of an earlier by the state court for considering as part of


controversy claims;


        2) As such being the case, the September 14, 2021 to show cause must be granted against


the counsel and his client, who arc ["'Carrison-Gonzalez"] and V‘'Claude Dora'\ tor their violations


alleged claims;




                                                 60
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       i) As such being the case, we assumed that the defendants must show good cause why'they


should not settle the claims for constitutional violations pending to prove the connections additional


claims for reliefs;


         ii) The facts to be deteimined with regard to such alleged breaches of contract are quite


separate from the facts to be determined in the principal suit, and automatic jurisdiction over such


illegal contracts;


        1) That is in no way essential to the conduct of federal court business. If the parties wish to


provide for the court's enforcement of a dismissal-producing settlement agreement, they can seek to


do so by enforced;


        2) As such being     then case when the dismissal is pursuant to Federal Rule ot Civil


Procedure 41(a)(2), which specifies that the action "shall not be dismissed at the plaintiffs instance


save upon orders;


        3) of the court and upon such terms and conditions as the court deems proper," the parties'


compliance with the terms of the settlement contract or the court's "retention ol jurisdiction" over


settlement claims;


        4),Then, we think the court is authorized to embody the settlement contract in its dismissal


order or. what has the same effect, retain jurisdiction over the settlement contract it the parties


agree for actionable;




                                                 M
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       5) Moreover, enforcement of the settlement agreement is for state courts, unless there is


some independent basis for federal jurisdiction V'21-MC-00108\ which the defendants can not


denied the claims;


       a) The plaintiff claimed monopolization under the Shennan Act, 15 U.S.C. § 2, alleging


several theories; one theory contended that the defendant was monopolizing the market by


wrongfully advising


        b) As well as if the word V'Aliefr} is a subject matter concerning the violations by the


defendant's trade secrets when, in fact, there is pauperis status imposed by punitive laws underlying


content to litigate;


        c) They were invalid; the remaining theories were not related to any patent issue, which the


plaintiff is invoking his              against practice of V'Ten'onsm"]. or illegal trade effect for


attempt to commit;


        1) The claims under ^ 2 of the Shennan Act, "to determine whether there is a dangerous


probability of monopolization, courts have found it necessary to consider the relevant market by the


defendant’s ability;


        2) That is presenting to lessen or destroy competition in that market, then we asking to


response their attempt, or failure to rectify secretive crimes with the laws being question by way of


the illegal means;




                                                62
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       3)For the reasons we are defining the market by V Depovtahle Alien'"} there is                        way to


measure [the defendant's] ability to lessen or destroy [^'Masses'"] inside their so called prison


industry by facts;


       i) On about April 2, 2014 the plaintiff filed a grievances against the defendants so called


serious crimes by way of violated human rights quoted by the activist who is invoking claims by


public safety factor;


       a) Here, the the defendants can not prove that the plaintiff is dangerous to any community


for their \"Mass deportation'l or {‘’^hicaneration              or if that is a class to be protected against


defendants theory;


        b) That their theory was applied with the same concept of assumption under the (“INA”),


secondly, the plaintiff alleged that Title, \''18 U.S.C. $ 3621'! does not mentioned alien as to


separate human;


        I'Secthn 8621 - Imprisonment of a convicted verson"} [‘‘(g) PARTNERSHIPS TO


EXPAND ACCESS TO REENTRY PROGRAMS PROVEN TO REDUCE RECIDIVISM"].-


(1) DEFINITION.-


              The term "demonstrated to reduce recidivism" means that the Director of Bureau oj Prisons has
     determined that appropriate research has been conducted and has validated the effectiveness ofthe type oj
     program on recidivism.Q) ELIGIBILITY FOR RECIDIVISM REDUCTION FARTNERSHIP.^A faith-based
     or communilY-based nonprofit organization that provides mentoring or other programs that have been
     demonstrated to reduce recidivism is eligible to enter into a recidivism reduction partnership with a prison
     or community-based facility operated by ike Bureau of Prisons.0) RECIDIVISM REDUCTION
     PARTNERSHIPS.-The Director of the Bureau of Prisons shall develop policies to require wardens of
     prisons and commiinitv-based facilities to enter into recidivism reduction partnerships with faith-based and
     community-based nonproOt organizations that are willing to provide, on a volunteer basis, programs
     described in paragraph (2).




                                                        63
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       d) As such being the cases the plaintiff again alleged tliat appeal [“'769052-R2”] was a serious


challenged for which the defendants retaliate against him because ol his movement or exhausting his the


right to infomial;


       l)That is because both the (“INA”) and the statute in question imposed restrictions, they are


extremely hard on family Unity, or support a claims for ^''Apartheid*'], or crimes against humanity by


the applicable laws;


       2) On or about [“■S’/zv/cy Treat "] a defendant that is part oi the conspiracy stated that the plaintiff


should not concerned about the different issues conceming illegal classification or public safety factor is


unconstitutional issue;


        3) According to to the response on January, 08, 2014, an inmate who is not                      of the


Untied States will received a \''public safeti- factor’’'’] or affirmative action must be determining in light


of the circumstances;


        4) The defendants assumed deportation was mandatory, regardless of claims, but also (“EOIR')


and (“ICE”) official aware of the criminal misconducts, (“MOCMA”), at page 94 (A) (1) address the


agencies concerns;


        i) As \"'Non-Citizen"l. or ["Alien"] they are both words and teims that were applied for the same


purpose of unjust classification for presidential concerns [“18-CV-03039’ ], or for designated permanent


resident granted;




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       ii) That was made specifically by the (“UCSS”) imposed liability against the agencies and their


employees, or claim for ["'Systematic Attack"'] to inform the agencies why they arc not liable for he


alleged conspiracy;


       iii)As (“MCF) confinn violation for the various constitutional rights, which we asking the


defendants must inform the public the condition of confinement imposed will justified their action to


dangerous theory;


       a) Under (“MOCMA”), at page 96 (A) is a question for Negligence Misconduct(s), relevant


conducts to invoke the ["‘S.D. Codified Laws 6' 16-16-2.3'’'’\ ; Section 16-16-2.3 - Good moral character¬


relevant conduct:


                    The presence of any of the following may be cause for furiher inquiry:(a) Unlawful conduci.
          including cases in which the record ofarrest or conviction w-as expunged, with the exception o)juvenile
          arrests and dispositions unless they pertain to a serious felonyfb) Academic misconducifc) Making oj
         false statements, including oniissions;(d) Misconduct in employment.fe) Acts involving dishonesty,
          disloyalty, fraud, deceit, or misrepresentation:(f) Abuse of legal process, including the filing oj
          vexatious luwsuits;(g) Neglect of financial responsibilities:(h) Neglect of professional
          ohligationsid) Violation ofan order ofa court, including child support orders.fj) Evidence of mental or
          emotional instability:(kj Evidence ofdrug or alcohol dependency or abuse.fl) Denial ofadmission to the
          bar in another jurisdiction on character and fitness grounds:(mj Disciplinaiy action against an
          applicant in any jiirisdiction.fn) Practicing law while not being so licensed. The foregoing list is
          representative, not exclusive.


       b) Then we assumed that the defendants must response why they should be liable if they failed to


perform their duty if they are liable [jfntei'vening cause'"] and                 ratification theorf'] unless the


politicians answers;


       c) They certainly failed to consider \""Alien Status"] or failed to ratify [""Pauperis Status"] they


are related claims, but also relevant conducts to mitigating secretive crimes by the defendants failure to


consider factors;



                                                         65
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       l)The Cornerstone of the Federal Sentencing Guidelines, 41 S.C.L.Rev. 495, 496 (1990)


[hereinafter Wilkins Steer]. In promulgating the relevant conduct guideline, the Commission adopted a


so-called real offense;


       2)"As such the philosophy, since section                   calls for sentencing based upon the


V'actual condiicf'] engaged in, rather than only upon the offense for which the defendant was convicted


for conflicting laws;


       3) As well as U.S.S.G. § 1B1.3, comment, uncharged conduct may enter into determination of


applicable guideline sentencing range, then we are questioning the agencies if mass deportation is


questionable issues;


       4) To this end, subsection (a)(2) of the relevant conduct guideline requires courts, in detennining


an offender's base offense level, to include "all such acts and omissions that were part of the same course


of illegal conducts;


        5) The scheme applicable by the agencies under ft‘MOCMA'’), at page 88-94 (VI)(A) to apply


relevant conduct against the agencies and judicial officials or common scheme or plan as the offense of


right convictions.


       6)As such being the cases the defendants must response why? This should not applicable to


them     W.S.S.G, $ lBL3(a)(2ri if they aware of the crimes, along they must applied Mens Rea


illegal concepts;




                                                   66
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       7)That is so that that all of the [“Depoitable Alien”] conviction must be declared illegal until the


defendants can prove why” Attempt to V'^commit crimes'''\ does not applied to them by the same special


situation concerns ;


       8) As well as for those suffered fi'om Mass Incarceration, that would dramatically increase the


sentence must be based on clear and convincing evidence, the cases before us today do not present such


exceptional matters;


       9),Then we therefore do address the issues, we theref<n-e hold that a juiy’s verdict of acquittal


does prevent the sentencing court from considering conduct underlying the acquitted charge, so long as


illegal conducts:


       10) That has been proved by a preponderance of the evidence, or even circumstantial of the


evidence must be applied to mitigate officials criminal misconducts . or that is lor vacatur conviction by


control theories;


       11) Then the tenu {'""underlvins racketcerins activity"\ refers to any predicate act that


is relevant conduct under U.S.S.G. § 1B1.3, that is another issues for the defendants to response


consistent by laws;




                                                   67
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                             ANTI-FEAR LIABILITY ACT (“AFLA”)


       II.If prosecutors were hampered in exercising their Judgmenl as to the use ot such witnesses by


concern about resulting personal liability, [they often would refrain IVoin calling such witnesses and


hence] the triers of fact in criminal cases often would be denied relevant evidence to consider it


immunity applied;


       1) As this Court recognized when it adopted the doctrine tor additional detendants under this


V'Motions for the Answer Act C'TAA) or Additional defendants Act C'ADA'l by the Treaties


Movement Protective Acf'] (“MTPA"), that should be at libcrt)' to exercise their tlinctions vtith


interdependenlly;


       2) That is also for without fear of consequences when even challenge judicial function in


light of the circumstances for their failure is serious concerns when evaluating additional evidence


presenting by laws;


       i) For the exclusion of the I'^'Second Chance Act"](SCA) or the challenge claim is against the


agencies under [“840527-Fl”] pending for the defendants consider response by the central office


regarding matters;


       a) On or about November 16, 2016 ["Afrs.Rachel Chapa            or that is for the defendants to


response controversy claims, illegal detainer practices based upon assumption, which they failed to drop


by suspect class;




                                                 68
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        b) Here, the Activist V'Manetiroitv Cl^ir^rain"^ or the Attorney is , brings this petition for a writ


of habeas coipus, arguing that was victimized by illegally laws, or review into to inquire indication for


punitive claims;


        1) Under section 236 of the Immigration and Nationality Act C‘The "INA"), 8 U.S.C. § 1226,


and requesting an immediate relief for vacatur of criminal convictions, hearing in accordance with


intellect intent;


        2) That section 236(a) of the (“INA”)is imposing restriction, for the reasons set forth below, the


motions should be granted by way [“20-CV-00433”], or VAVrit corum nobis''^. to mitigating assumption


of risk by luling;


        i) As of November 3, 2015 the (“DHS”) would like to keep illegal detainees, accordingly, this


response is for questionable informative purposes, to be remove from the illegal laws to satisfy question


of laws and facts;


        ii) If the agencies arc not satisfy with the claim for V'systematic attack “], then settlement in 20


days is appropriate in these cases pending to file for additional damages by compelling national judicial


records to litigate;


        iii)Then we asking the courts to applying the concept of(“MOCMA),for mitigating crimes when


VHntent to DWlish"'^ can be proving the direct evidence, [“813843-R3"], or they are subject matter for


evaluation rights;




                                                    69
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       1) Those include the illegal sanction imposed by the (“DHC’), on Febniary 24, 2015 for illegal


incident reports,[“2677576”], or the decision was based sanely upon his movement as an activist against


criminal intent;


       2) Thus, it is true that the sanctioned imposed was not in accordance with the applicable laws


mentioned by V"Mrs. Donna Mellentick'\ and the same way she failed to inform the agencies for non¬


removal aliens;


       3) That is because the defendants scare him, or exposed him to privatization where their


restriction to mail his legal mail is infonnative action, they could have done any wrong to murder him or


additional injuries;


        a) If the agencies refuse to comect their misconducts, or if general population is so serious


because of being fear, or because reporting privatization scheme can not be the objective of the agencies


to punish by means;


        b) Here, the evidence to report their misconducts is proving by the administrative records,


therefore, the decision by (“DHO”) its required for the courts to consider (“TAJA”) or for them to


response by laws;


        1) Therefore, the arguments will help in decision process by(“TADMA”), at page, 15 (d), if the


(DHO)illegally increase his sentence without justification, but additional pretext contention to stop his


revolution rights;




                                                  70
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       2) As such being the case the plaintiff is asking for additional damages couple with the claims


for retaliation, can not be restore only by monetai'y damages, but to restore his right by vacatur ot illegal


illegal sentences;


       3) For the same reasons, we asking if \"‘14 days "] was appropriate consistent with the mental


damages caused by the defendants actions , or substantial complaint to question even the laws being


applied to punish;


        i) Here, the defendants claimed that the plaintiff admitted the charges without any evidence, but


also referred to his Medical condition, which he has punished for the same reasons will justified their


objective satisfied;


        ii) As such being the case, based upon the evidence , or lack of admitted any charges, the


(”DHO'*) decision was based on adversaiy action, which the plaintiff quoted as part of his speeches to


inform publicly;


        iii) Therefore, the sanction, among the other should evaluated within the administrative records


to evaluate the defendants failure to interne,along with failure to ratify which make all ot them to be


liable for damages;


        iv) Thus, it is true that the plaintiff is not satisfy with any punitive law, then the policy is being


question for enforcing punishment, against those such the plaintiff who is an activist to protect interest


of public forums;




                                                    71
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                      INJUSTICE PUBLICATION DISCLOSURE ACT(“IPDA”)


         III.The term "unwarranted" requires us to balance the family’s privacy interest against the


public interest in disclosure, under the (“FOIA”) is often explained as a means for citizens to know


what their Government is up to, and this phrase should not be dismissed as a convenient fonnalism;


as a general rule;


         A                   V'Movement Educative Combaihis Character Act''](“MECCA")


              I                         V'lVanofial Choice     (“NCA")                    22(A)(I)


                       1)       Veteran Electronic Treatment Choice Act(“VETCA”)       22(A)(I)(l)

                       2)             Universal Nationality Choice Act(“UNCA")         22(A)(I)(2)

                       3)             National Treatment Choice Act(“NTCA")            22(A)(I)(3)

                       4)            Movement Educative Mass Deportation (MEMDA...22(A)(I)(4)

                       5)              Nation Union Bar Treatment Act(NUBTA)           22(A)(I)(5)

                       6)           Right Issues Recidivism Treatment Act(RIRTA)      22(A)(I)(6)

                       7)              Union Protection Public Invention Act (“UPPA”)...22(A)(I)(7)

                       8)                  Nations Union Control Treaties(NUCTA)      ,22(A)(I)(8)

                       9)       Treatment And Software Invention Copy Act(TASICA)...22(A)(I)(9)

                                 Union Development Academic Treaties Acf'](NUDATA)..22(A)(I)(15)

                        1)      Treaties Educative School And Prisons Act(TESAPA)...22(A)(I)(14)

                       2)           National Education Public Opinion Act(NEPOA)      22(A)(I)(16)

     B            ^'Criminal Offenders Ratification Imminent Danser Act"}(“CORID A"). .■23(A) (II)




                                                  72
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                              UNIVERSAL COMMON CRIMES ACT(-‘UCCA”>


           IV.That “a prison official can violate individuals Amendment rights by failing to intervene


   when another official acts unconstitutionally, thus, the              requirement of an intent to punish is


   satisfied, moreover, while the statute expresses no intent to punish on its face, it asserts alternative


   claims to litigate;


            A            V'Treaties Educative Technolosv Correctional Act"}(“TETCA")                           21 (B)


                  1)                              FTCA Claim for Referrals                                     5 (iii)

                 2)                              Certification for Mail Services                               5 (iii)

                 3)                     Intent to Punish or Against Revolutionist                              5 (iii)

                 4)                     Exclusion to the Second Chance Act(SCA)                                 5 (iii)

                 5)                           Challenged for Public Safety factors                             5 (iii)

                 6)                        First Class Discrimination Analysis                                 5 (iii)

                 7)                           Second Class Discrimination Intent                              5 (iii)

                 8)                          Fourth Class Discrimination Animus                                  5 (hi)

                 9)                          Proximate Cause for Adverse Action                                5 (iii)

                  10)                           Beaumont Low Request to staff                                   5 (iii)

                  11)                              First Adam Request to Staff.                                 5 (iii)

                  12)                         Seeond Adams to request to Staffs                                 5 (iii)




         Under the Act("VTA ") or /'The Answer Act ”/ ("TAA        for which the plaintiffis attaching the above Exhibit
for the the courts to review them de novo, judicial determination of citizenship claims, or standard of             for
discrimination claims is an exception to the general rule that MSPB determinations are reviewed on the record and set
aside only ifthe "agency action.Kelliher v. Veneman 313 F.3d 1270(J 1th Cir. 2002)




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B                  V^DeiJortee On Treaties Movement Act'^(DOTMA)       21(C)

    1)                  Sentence Computation Challenged              39(E)(5)

    2)             Illegal calculation for Good Conduct Time          39(E)(5)

    3)               Employees Misconducts for Investigation         39(E)(5)

    4)              illegal Code, 307 for Ratification Theory        39(E)(5)

    5)              Illegal Immigration Hearing Program (IHP)        39(E)(5)

    6)              Inmate Financial Responsibility Program          39(E)(5)

    7)                Community Con-ectional Center(CCC)             39(E)(5)

    8)            Release Gratuities, transpoitation ,and Clothing   39(E)(5)

    9)                Inmate Disciplinary Program (IDP)              39(E)(5)

    10)                 Mental Health and Intent to Punish           39(E)(5)

    11)                 Standards of Employees Conducts              39(E)(5)

    12)                Investigation for Appropriate Actions         39(E)(5)

    13)                     Electronic Law Library (ELL)             39(E)(5)

    14)             Failure to consider Indiana Residency            39(E)(5)

    15)                Unjust Classification and Custody              39(E)(5)

    16)         Pre-Sentence Investigation. National Status Claim    39(E)(5)

    17)         Continuation of Retaliation. Or adversary Action      39(E)(5)

    18)                Exclusion to Drug Program (RDAP)               39(E)(5).

    19)                Failure to consider Dangerous Thcoiy           39(E)(5)

    20)                Release Preparation Programs(RPP)             39(E)(5)




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     C                               {'Judicial Ratification Punitive Act''\( JRPA)                           5 (iii)

              1)                hdanetirony Clervrain V. United Stales OfAmerica                           50(G)(II)

                                                    [“20-CV-00068”]

              2)                Manetirony Clervrain V. United States of America                           50 (II)(B)

                                                    [“17-CV-01012”]

              3)                Manetirony Clervrain J '. United Slates oj America                      50 (II)(B)(3)

                                                     [“21-MC-00017”]

     1                              ^Additional Evidence, compelling Records"]                               5 (iii)

               a)                        Affirmative Actions or Illegal Practices                         33(C)(3)

                       1)             June 12, 2018 False Statement by(MVCC)                                  (C)(3)

                       2)              June 20, 2018 False Statement by(MVCC)                             33(C)(3)

               b)                  {''Reason to Answer IlleaaUTv ^'^isconducts''^                              5 (lii)

      II                                 {"Reason To question Untimely"}                                     51 (II)

               a)                Under the Circumstances what will be the Damages                          33 (C)(3)

               b)                     Evidence for Additional claims and Damages                          33(C)(3)

              c)                Magistrate Judge's Illegal Report and Recommendation                       33(C)(3)

               d)                        Evidence for Additional Grievances                                33(C)(3)

               e)                      R.estriction to Access to Federal Courts                           33 (C)(3)

               t)                          Pattern of Misconducts to restrict                             33(C)(3)

               g)                Petition for Pardon after completing Sentence                           33(C)(3)

      III                             {"The grievance Procedures Claims'A                                         6(c)

          That is Statement bv the Atloniew against secretive crimes, "My commitment is to make sure we are doing
evetything we possibly can to improve the public safety outcomes ofthe men. women and children of all 120 counties,
f"Daniel Cameron, Attorney Generali, then we asking him if["liepuhlic of Haiti ’], is consider one oj the countiy
fur extraditing serious criminals, f"https://ag.ky.gov/Pages/defaiilt.aspx "J Hill v’. Blake. 186 Conn. 404(Conn. 1982)




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                                     PRAYER FOR RELIEF(S)


       WHEREFORE, The plaintiff, \'"Manetiron\ Clervrain'] , Who is the V'activistia)"} or {''The


Antfsyys ("The Humanitarian(s)") ; ("The fatheiisD: ("The Husbaftd(sD:("The Minorfs)) : ("The


Children") : ("The RepresentativefsD : or ("The AftornevCs)''): or ("The Conwetent(s)") ; ("The


Protected Classes (s)   ; or ("The Indisent(s)") or ("The litieatorisD or ("The Speaker(s)''); or ("tju


inventor(sY) : or ("The devleoyeris) ")'. or ("The Declarant(s)''), and ("The Brother(s)"], and he is


praying these honorable courts and the agencies, the Governors of each states to consider these motions


for petition for pardon after completion of sentence pending to stop \"stoy evictions"], ("extended


appeals"], ("vacatur of convictions"] for those who was first time offenders and to infonn the public,


concerning their behavior, if they failed to ratify punitive laws, wc asking punitive damages effecting


family unity, as well as equitable reliefs, including fees for his management team, reinstatement, and


promotion, the cases are across the country for federal concerns related to the contro\’ersies to evaluate


emergency situations in light of the circumstances that is evidence for conspiracy against pauperis


family or for consider their exceptional circumstance caused by covid-19, the level ot 'extraordinary and


compelling, or a matter to help the economic with small business, and those with illegal conviction, and


their family upon admitted by the applicable laws, as one of the conditions place the various business


owners among the CDC's high-risk Covid-19 categories, or to benefits victim ot crimes, as discussed


further before, the ("Coronavirus Aid, Relief, and Economic Security Act"] ("CARES Act ’’) does


provide a mechanism for the executive branch to inten'cnc in such exceptional issues, and tor the




                                                  76
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enactment of the V'Treaties on Mitiuatin^ Pauperis Act"^ (‘TOMPA”), they are injuiy in the present


cases for comparable to the repeal of a law granting a subsidy to benefited those with great ideas or


those that has victimized by market manipulation if, and only if, to provide services pending market


controlling cooperatives, while being a victim of serious crimes by the defendants actions can be


justified for statutory damages, as well as for disqualify Judicial official across the country by means of


the applicable laws , and for the supreme court, and the office of tlic general counsel to investigation the


various claims being alleged across the country, and for the appointment of independent counsel for


investigating crimes and     to intervene against illegal laws, policies and regulations, and for the


Enactment of the proposed laws, for mitigating monopolization or for protection against governmental


brutality by secretive Crimes, or to protect innocent individuals, that certainly can not be frivolous with


the meaning of the plain meaning of the statutes being challenged, and for the courts to vacant their


illegal judgments, or for the purpose to evaluate additional facts that the defendants must response the


claims before dismissal with or without prejudice       or to review the claims with oral arguments.and


cvidcntiaiy hearing, in light of the circumstances to excluded him from the (“PLRA"), and to waiver any


\^'Pacer fees"] against Crimes of Apartheid, or to litigate without any further {^‘'Undue financial


burdens"] and to question the agencies, if the administrative records will prevail the facts, or if the


circumstantial evidence that the plaintiff is victim of crimes by the defendants action and intentional


restrict him to litigate by unjust restriction so that the evidence will not expose to the public with this


this motions as affidavit, because the evidence on the courts records are substantial by declaring that the



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\^‘'defendants’'\ are veiy conTipted for which tliese courts have additional Jurisdiction tor questioning the


merits on his cases, and for controversy within these motions that being restricted by the defendants


action or they are interfering with illegal laws for additional venue by courts to infonn the defendants, or


judicial officials across the country that their laws are illegal Per Se is within this pending motion [“21-


CV-00146"], V'Motion for Manifest Injustice Act C'MJA*') or Electronic Fillins Act C^EFA*') or


Opposition hv Secure Academic resources Technolosv Acf'](“SARTA”),or evidence for controversy


claims, and majority opinion by both domestic and international intervener that must granted, or that is


for the interest of justice, it is because the various judicial official        lack of credibility, including


immigration, Criminal and civil for initiating investigations, and for additional relief pending to file after


tlte courts granted him the relief for his management teams, and their failure to evaluate the defendants


conspiracy effecting the public interest by way of Mass Deporation and Incarceration, they are serious


crimes for criminal investigation, or proper cause of actions are presenting to the courts for Nationwide


jurisdiction concerns, of course the plaintiff is invoking the federal courts across the countiy tor their


intervention, or that is because the restrictions, he could not tile his cases, or his invention and, and the


motions states factual allegation,     this courts should question the defendants for his controversy


claims.   related matters to protecting against future threats by [''cont?-o! theojy''], and to compel the


defendant to show cause , or until they provide the reasons that he could not litigate his cases as indigent


person, or at the government expenses       and   if        the (“agencies") illegal laws could have been the


proximate cause if his delayed after release from illegal detention or they intentionally intertering with



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both of his legal obligation and to protect the public against injustice or by implemented illegal or by


restricted those with public    interest or as restricted pro-sc litigant to litigate his rights, or    legal


obligation without bias , delay the process, or violation of due process against humanity or to protect the


public against    mistreatment^^] by the     agencies"') and (‘'Judicial bureaucracy*’) that are part of the


conspiracy or in other word they arc involved in the [' admutistrative crimes"] within the meaning of


Black dictionary, in particularly if they arc entitle to remand theses cases to the district coiu1 for further


proceeding, or to compel them as matter of right after release from illegal detention or for evaluating the


damages against each of the defendants involved for the constitutional violations, or for his first


amendment right by compelling the administrative records against quasi judicial procedures, and to


litigate complex litigations and any other reliefs the courts might find just and proper, and the plaintiff


is informing the courts that he will file separate motions in each courts to identify the defendants in their


own jurisdiction, or supplement jurisdiction against supplemental injustice or for [^'National reliefs"], or


the need for publicity is matter of right against criminal enterprise established by illegal contracts tor the


purpose to abolish their unjust enrichment is another claims for additional damages against the


defendants, and the courts must applied the concept for unreasonable time frame so that the plaintiff


could not managed the cases, that the limitation by they way of restricting people or V'Alien Status'], or


{''Pauperis status"^ must is presenting today to response complex litigation or various ambiguities that


is presenting to the courts for the same reason by reasoning power is subject to question both            the


(“INA”), and the (“PLRA”) as related matters against enforcing discrimination, or bias by the agencies



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intentional acts,"at least in the absence of violation of an independent duly arising from principles


of tort law"', or if dismissal V^with preimlice ^ is question tor tort violations, or for access to electronic


resource will mitigating judicial restriction against those with prolific classification, as well as the


claims against the agencies for additional procedures needs to be developed against facial attack, that


the courts must perform their duty, or to file specific objections in a timely manner will not constitutes


waiver of the right to review by the district judge and the right to appeal the Court’s decision, it the


plaintiff exceptional circumstances is proving as evidence for good cause exception, as well as to


compel the administrative records from each courts and agencies that are part of the controversies to


litigate against terrorism , genocide, and extortion can be prevail by the records upon release for


additional argumentative, or consistent with the pattern of these cases by evaluating each of the


defendants responsibility for whatever constitutional or federal statutoiy injuries he is alleged, they are


undisputed facts for analyzing by expert testimonial with the same reasoning by (“DIFTA”),or because


the defendants are exposed the punitive class among array of the extensive conspiracy that fomied the


criminal enterprise, thus, it is one thing to be cautious before dismissing an antitrust complaint in


advance of discovery, it is self-evident that the problem of discovery abuse cannot be solved by "careful


scrutiny of evidence at the summaiy judgment stage," much less "lucid instructions to juries, and why


we doing this way because it is our experience against the defendants, or evidence against the activist, or


against [""The Speech"] can not be classified as frivolous without justification by the federal circuit


courts for controversies, or if whether that collateral estoppel applied to § 1983 claims and remanding



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case for a detennination of whether state collateral estoppel law barred plaintiff from proceeding on §


1983 claim for the alleged violations by the defendants mass incarceration need to be developed by for


additional right, or sufficiently protect the rights of free expression that we believe that the fundamental


law of our state requires, and that "additional safeguards are necessai-y at a subsequent interrogation if


the   plaintiff     has   been     previously   excluded    to   procedures,    and, that   Congress      has


prescribed procedure for dealing with the consequences of tortious conduct already committed, there is


ground for concluding that existing criminal penalties or liabilities for tortious conduct        must    be


eliminated by laws.


                                                                                Rcspcctfull/^bmitted.




Date:
                  10/20/2021                                                     VI              rvrain

                                                                               4326 i Scatt^fJ^ld Road
                                                                               Suite If 3    V
                                                                               Ande ^ii, IN 4o013
                                                                               765-278-9806




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               Case 1:22-cv-00006 Document 1-4 Filed 04/11/22 Page 82 of 83




                                 CERTIFICATION OF SERVICES


       THEREBY, I {"Matietirony Clervrain”], the Activist or \;"THE ANT'] requesting for justice,


and do swear, or declare on this date, —10      /        20—/—2021          , served the enclosed {'Motion


for Extention to anneals extortion or conweltinu Needis) bv the Administrative Records for


controversies claims Act(VCCA) on each party to the above proceeding and envelope containing the


above documents in the United States mail properly addi'essed to each of them and with first class


postage prepaid, or by delivery or Electronie to (“EFC”), to a third-party commercial earner for delivery


within 3 calendar days and the name addresses of those scrv^c is follows;


          United States District Court
          District of Mariana Islands
          205 Horiguchi Bid cr
          Saipan, MP 96950

          United States District Court
          District of Colorado
          1060E.2nd Ave
          Durango, CO 81301

          United States District Court
          District of Minnesota
          300 South Fourth Street
          Minneapolis, MN 55415

          United States District Court
          District of Kansas
          401 N Market Suite 414
          Wichita,KS 67202

          United States District Court
          Eastern District of Kentucky
          ]01 Ban- Street
          Lexington,KY 40507




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                                                        Respectfully^ubmitted,




Date:
        10/20/2021                                     S/ Mlajlei mfmy C/lcrvrain
                                                                  'atterfitfld Road
                                                       4326^
                                                       Suite i 53
                                                       Andcfson,' 4 .013
                                                       765-278-980^




                                    83
